Case 2:25-cv-01963-MEF-MAH                         Document 93               Filed 03/20/25              Page 1 of 30 PageID: 195




                                    I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                        F O R T H E DI S T RI C T O F N E W J E R S E Y


       M a h m o u d K H A LI L,

                            P etiti o n er ,

       v.

       D o n al d J. T R U M P, i n his offi ci al c a p a cit y as                   C as e N o. 2 5-c v - 1 9 6 3 ( ME F)
       Pr esi d e nt of t h e U nit e d St at es; Willi a m P.
       J O Y C E, i n his offi ci al c a p a cit y as A cti n g Fi el d             A ME N DE D ME M O R A N D U M OF
                                                                                    L A W I N S U P P O R T O F M O TI O N
       Offi c e Dir e ct or of N e w Y or k, I m mi gr ati o n a n d
                                                                                    F O R R E L E A S E U N D E R L U C A S V.
       C ust o ms E nf or c e m e nt 1 ; C al e b VI T E L L O, A cti n g
                                                                                    H A D D E N A N D M A P P V. R E N O
       Dir e ct or, U. S. I m mi gr ati o n a n d C ust o ms
       E nf or c e m e nt; Kristi N O E M, i n h er offi ci al                       O R A L A R G U M E N T R E Q U ES T E D
       c a p a cit y as S e cr et ar y of t h e U nit e d St at es
       D e p art m e nt of H o m el a n d S e c urit y; M ar c o
       R U BI O, i n his offi ci al c a p a cit y as S e cr et ar y of
       St at e; a n d P a m el a B O N DI, i n h er offi ci al
       c a p a cit y as Att or n e y G e n er al, U. S. D e p art m e nt of
       J usti c e,

                            R es p o n d e nts .




  B a h er A z m y
  C e nt er f or C o nstit uti o n al Ri g hts
  6 6 6 Br o a d w a y, 7 t h Fl o or
  N e w Y or k, N Y 1 0 0 1 2
  ( 2 1 2) 6 1 4- 6 4 6 4
  b a z m y @ c crj usti c e. or g

  C o u ns el f or P etiti o n er


  1
      R es p o n d e nt Y ol a n d a Pitt m a n, i n h er offi ci al c a p a cit y as W ar d e n of Eli z a b et h C o nt a ct D et e nti o n
  F a cilit y, will b e a d d e d.
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25                Page 2 of 30 PageID: 196




                                                        T A B L E OF C O N T E N TS

  I N T R O D U C TI O N......................................................................................................................... 1
  F A C T S ........................................................................................................................................... 2
      I.     M R. K H A LI L’ S LI F E A N D C O M M U NI T Y TI E S I N T H E U NI T E D S T A T E S. ...... 2
      II. M R. K H A LI L’ S A R R E S T, B O O KI N G, A N D T R A N S F E R ........................................ 5
      III. T H E O N G OI N G H A R M S O F M R. K H A LI L’ S D E T E N T I O N ................................. 1 0
  A R G U M E N T ............................................................................................................................... 1 2
      I.     T HI S C O U R T H A S A U T H O RI T Y T O G R A N T M R. K H A LI L’ S I M M E DI A T E
             R E L E A S E P E N DI N G T H E A D J U DI C A TI O N O F T HI S H A B E A S P E TI TI O N
             U N D E R L U C A S V. H A D D E N A N D M A P P V. R E N O . ................................................ 1 2
      II. M R. K H A LI L M E E T S T H E S T A N D A R D F O R L U C A S A N D M A P P R E L E A S E . 1 5
             A.       M R. K H A LI L R AI S E S S U B S T A N TI A L C L AI M S A N D A C L E A R C A S E
                      F O R H A B E A S R E LI E F ........................................................................................ 1 5
             B.       M R. K H A LI L’ S C A S E P R E S E N T S E X T R A O R DI N A R Y
                      CI R C U M S T A N C E S. ............................................................................................. 1 9
             C.       T H E S E E X T R A O R DI N A R Y CI R C U M S T A N C E S M A K E T H E G R A N T O F
                      B AI L N E C E S S A R Y T O M A K E T H E H A B E A S R E M E D Y E F F E C T I V E. .... 2 1
  C O N C L U SI O N ........................................................................................................................... 2 3




                                                                             i
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25                Page 3 of 30 PageID: 197




                                                     T A B L E O F A U T H O RI TI E S
                                                                                                                                             P a g e(s)
  C as es

  A c c ar di v. S h a u g h n ess y ,
         3 4 7 U. S. 2 6 0 ( 1 9 5 4)..................................................................................................... 1 5, 1 7, 1 8

  A n ari b a v. Dir. H u ds o n C nt y. C orr. Ctr .,
       1 7 F. 4t h 4 3 4 ( 3 d Cir. 2 0 2 1) ..................................................................................................... 1 5

  A nt h o n y O. v. D e c k er,
          N o. C V 2 0- 3 8 5 6 ( M C A), 2 0 2 0 W L 2 5 7 1 8 9 7 ( D. N.J. M a y 2 0, 2 0 2 0) .................................... 1 3

  A s m e d B. v. D e c k er,
       4 6 0 F. S u p p. 3 d 5 1 9 ( D. N.J. 2 0 2 0) .............................................................................. 1 3, 1 8, 2 2

  A v e n d a n o H er n a n d ez v. D e c k er ,
         4 5 0 F. S u p p. 3 d 4 4 3 ( S. D. N. Y. 2 0 2 0)...................................................................................... 1 9

  B ar b e c h o v. D e c k er ,
         N o. 2 0-C V - 2 8 2 1 ( AJ N), 2 0 2 0 W L 2 5 1 3 4 6 8 ( S. D. N. Y. M a y 1 5, 2 0 2 0) ................................. 1 9

  B ell o -R e y es v. G a y n or ,
         9 8 5 F. 3 d 6 9 6 ( 9t h Cir. 2 0 2 1) ................................................................................................... 1 6

  Bri d g es v. C alif or ni a ,
       3 1 4 U. S. 2 5 2 ( 1 9 4 1)................................................................................................................. 1 5

  Bri d g es v. Wi x o n ,
       3 2 6 U. S. 1 3 5 ( 1 9 4 5)................................................................................................................. 1 5

  C all e y v. C all a w a y ,
        4 9 6 F. 2 d 7 0 1 ( 5t h Cir. 1 9 7 4) ................................................................................................... 1 2

  C arl os M. R. v. D e c k er ,
       N o. C V 2 0 - 6 0 1 6 ( M C A), 2 0 2 0 W L 4 3 3 9 4 5 2 ( D. N.J. J ul y 2 8, 2 0 2 0) ..................................... 1 3

  Cit y of H o ust o n v. Hill ,
       4 8 2 U. S. 4 5 1 ( 1 9 8 7)................................................................................................................. 1 5

  C o n ni c k v. M y ers,
         4 6 1 U. S. 1 3 8 ( 1 9 8 3)................................................................................................................. 1 5

  C or o n el v. D e c k er ,
       4 4 9 F. S u p p. 3 d 2 7 4 ( S. D. N. Y. 2 0 2 0)................................................................................ 1 9, 2 2

  Cristi a n A. R. v. D e c k er ,
       4 5 3 F. S u p p. 3 d 6 7 0 ( D. N.J. 2 0 2 0) .......................................................................................... 1 3

                                                                            ii
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25                Page 4 of 30 PageID: 198




  D’ Al ess a n dr o v. M u k as e y ,
       N o. 0 8 Ci v. 9 1 4, 2 0 0 9 W L 7 9 9 9 5 7 ( W. D. N. Y. M ar. 2 5, 2 0 0 9) .............................................. 1 3

  D e m or e v. Ki m ,
       5 3 8 U. S. 5 1 0 ( 2 0 0 3)................................................................................................................. 1 7

  Di o p v. I C E/ H o m el a n d S e c .,
        6 5 6 F. 3 d 2 2 1 ( 3 d Cir. 2 0 1 1)..................................................................................................... 1 4

  D ur el B. v. D e c k er ,
        4 5 5 F. S u p p. 3 d 9 9 ( D. N.J. 2 0 2 0) ............................................................................................ 1 3

  E at o n v. H ol br o o k ,
        6 7 1 F. 2 d 6 7 0 ( 1st Cir. 1 9 8 2) .................................................................................................... 1 2

  E x p art e E n d o ,
       3 2 3 U. S. 2 8 3 ( 1 9 4 4)................................................................................................................. 1 4

  G e ntil e v. St at e B ar of N e v. ,
        5 0 1 U. S. 1 0 3 0 ( 1 9 9 1)............................................................................................................... 1 4

  G er m a n S a nt os v. W ar d e n Pi k e C nt y. C orr. F a cilit y ,
       9 6 5 F. 3 d 2 0 3 ( 3 d Cir. 2 0 2 0)..................................................................................................... 1 6

  G uti err ez - S ot o v. S essi o ns,
        3 1 7 F. S u p p. 3 d 9 1 7 ( W. D. T e x. 2 0 1 8).................................................................................... 1 5

  H a n T a k L e e v. C a m er o n ,
       N o. 4: 0 8- C V - 1 9 7 2, 2 0 1 4 W L 4 1 8 7 5 9 0 ( M. D. P a. A u g. 2 2, 2 0 1 4) ............................. 1 3, 1 7, 1 9

  I ut eri v. N ar d oz a,
        6 6 2 F. 2 d 1 5 9 ( 2 d Cir. 1 9 8 1)..................................................................................................... 1 2

  J ef ers o n V. G. v. D e c k er ,
        N o. C V 2 0- 3 6 4 4 ( K M), 2 0 2 0 W L 1 8 7 3 0 1 8 ( D. N.J. A pr. 1 5, 2 0 2 0) ....................................... 1 2

  J os e B. R. v. Ts o u k aris ,
        N o. C V 2 0- 3 3 4 7 ( M C A), 2 0 2 0 W L 2 7 4 4 5 8 6 ( D. N.J. M a y 2 7, 2 0 2 0) .................................... 1 2

  Ki a dii v. D e c k er ,
        4 2 3 F. S u p p. 3 d 1 8 ( S. D. N. Y. 2 0 1 8)...................................................................... 1 3, 1 7, 1 9, 2 1

  K ol a w ol e O. T. v. A hr e n dt ,
        4 6 6 F. S u p p. 3 d 4 5 7 ( D. N.J. 2 0 2 0) .............................................................................. 1 2, 1 7, 2 1

  L a n d a n o v. R aff ert y ,
        9 7 0 F. 2 d 1 2 3 0 ( 3 d Cir. 1 9 9 2)....................................................................................... 1 2, 1 3, 1 4



                                                                            iii
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25                Page 5 of 30 PageID: 199




  L esli e v. Att’ y G e n. of U. S. ,
       6 1 1 F. 3 d 1 7 1 ( 3 d Cir. 2 0 1 0)..................................................................................................... 1 6

  L esli e v. H ol d er,
       8 6 5 F. S u p p. 2 d 6 2 7 ( M. D. P a. 2 0 1 2) ........................................................ 1 1, 1 2, 1 3, 1 7, 1 9, 2 1

  L u c as v. H a d d e n ,
        7 9 0 F. 2 d 3 6 5 ( 3 d Cir. 1 9 8 6)..................................................................................... 2, 1 1, 1 2, 1 7

  M a p p v. R e n o ,
        2 4 1 F. 3 d 2 2 1 ( 2 d Cir. 2 0 0 1)............................................................................... 2, 1 1, 1 2, 1 7, 2 0

  N asr v. H o g a n ,
       N o. 0 8 – 4 1 5, 2 0 0 8 W L 2 7 0 5 5 3 3 ( M. D. P a. J ul y 1 0, 2 0 0 8)...................................................... 1 1

  R af a el L. O. v. Ts o u k aris ,
        N o. C V 2 0- 3 4 8 1 (J M V), 2 0 2 0 W L 1 8 0 8 8 4 3 ( D. N.J. A pr. 9, 2 0 2 0)........................................ 1 3

  R a g bir v. H o m a n ,
        9 2 3 F. 3 d 5 3 ( 2 d Cir. 2 0 1 9)....................................................................................................... 1 5

  R e n at T. v. D e c k er ,
        N o. C V 2 0- 4 6 5 8 ( M C A), 2 0 2 0 W L 3 8 1 9 2 2 7 ( D. N.J. J ul y 8, 2 0 2 0) ....................................... 1 3

  R os e n b er g er v. R e ct or & Visit ors of U ni v. of V a. ,
        5 1 5 U. S. 8 1 9 ( 1 9 9 5)................................................................................................................. 1 5

  R u msf el d v. P a dill a ,
       5 4 2 U. S. 4 2 6 ( 2 0 0 4)................................................................................................................. 1 4

  S. N. C. v. S essi o ns ,
       N o. 1 8 Ci v. 7 6 8 0 ( L G S), 2 0 1 8 W L 6 1 7 5 9 0 2 ( S. D. N. Y. N o v. 2 6, 2 0 1 8) .............. 1 3, 1 7, 1 9, 2 1

  U nit e d St at es v. L o y ,
         2 3 7 F. 3 d 2 5 1 ( 3 d Cir. 2 0 0 1)..................................................................................................... 1 7

  U nit e d St at es v. N k a n g a ,
         4 5 2 F. S u p p. 3 d 9 1 ( S. D. N. Y. 2 0 2 0)............................................................................ 1 9, 2 1, 2 2

  Z a d v y d as v. D a vis ,
         5 3 3 U. S. 6 7 8 ( 2 0 0 1)................................................................................................................. 1 7

  St at ut es

  5 U. S. C. § 7 0 6................................................................................................................................ 1 8

  Ot h e r a ut h o riti es

  M e m or a n d u m of K e vi n M c Al e e n a n, D e p’t of H o m el a n d S e c. ( M a y 1 7, 2 0 1 9) ........................... 1 8

                                                                            iv
Case 2:25-cv-01963-MEF-MAH                           Document 93               Filed 03/20/25               Page 6 of 30 PageID: 200




                                                          I N T R O D U C TI O N

             P etiti o n er M a h m o u d K h alil is a b el o v e d h us b a n d, s o o n- t o- b e f at h er, gr a d u at e st u d e nt, a n d

  P al esti ni a n ri g hts a cti vist w h o m f e d er al offi ci als h a v e i m pris o n e d a n d t ar g et e d f or d e p ort ati o n i n

  r et ali ati o n f or his pr ot e ct e d p oliti c al s p e e c h. Aft er arr esti n g hi m at his h o m e o n t h e c a m p us of

  C ol u m bi a   U ni v ersit y, s h a c kli n g a n d j aili n g hi m i n t h e d e a d of ni g ht, a n d h ol di n g hi m

  i n c o m m u ni c a d o fr o m his wif e a n d l a w y ers, f e d er al offi ci als t h e n tr a ns p ort e d Mr. K h alil a cr oss

  m ulti pl e s t at e li n es a n d s u bs e q u e ntl y tr a nsf err e d hi m t o a r e m ot e pri v at e pris o n i n L o uisi a n a h o urs

  aft er t h e fili n g of his ori gi n al h a b e as p etiti o n. As a r es ult of t h e f e d er al g o v er n m e nt’s a cti o ns, Mr.

  K h alil f a c es t h e l oss of his fr e e d o m, a pr of o u n d sil e n ci n g of h is d e e pl y h el d b eli efs, l a c k of

  m e a ni n gf ul a c c ess t o c o u ns el a n d t his C o urt, disr u pti o n i n his m e di c al c ar e, l oss of f ut ur e

  e m pl o y m e nt, s e p ar ati o n fr o m his U. S. citi z e n wif e, a n d m ost d e e pl y p ers o n al of all, t h e pr os p e ct

  of missi n g t h e birt h of his first c hil d.

             Pr esi d e nt D o n al d J. Tr u m p a n d S e cr et ar y of St at e M ar c o R u bi o h a v e m a d e a b u n d a ntl y

  cl e ar t h e b asis of t h eir ir e a g ai nst Mr. K h alil: his s p e e c h a n d e x pr essi o n, as a m e m b er of t h e st u d e nt

  b o d y of C ol u m bi a U ni v ersit y , r el at e d t o t h e d e v ast ati n g h u m a n t oll fr o m Isr a el’s s yst e m ati c

  vi ol e n c e a g ai nst P al esti ni a ns i n G a z a o v er t h e p ast y e ar a n d a h alf. B ot h Pr esi d e nt Tr u m p a n d

  S e cr et ar y R u bi o als o h a v e m a d e pl ai n t h eir i nt e nti o n t o m a k e a n e x a m pl e of Mr. K h alil, w h o h as

  b e e n t h e s u bj e ct of a g gr essi v e d o xi n g a n d mis attri b uti o n of vi e ws t h at a p p e ar t o h a v e o nl y w hi p p e d

  u p a d e e p er fr e n z y of r etri b uti o n. B y t ar g eti n g Mr. K h alil i n t his m a n n er, t h e f e d er al g o v er n m e nt’s

  a cti o ns h a v e h a d a n i m m e di at e a n d p al p a bl e c hilli n g eff e ct o n p oliti c al d e b at e, wit h m a n y p e o pl e

  a cr oss t h e c o u ntr y — i n cl u di n g l a wf ul p er m a n e nt r esi d e nts li k e Mr. K h alil— li vi n g i n f e ar t h at t h e y

  or t h eir l o v e d o n es t o o will b e n e xt if t h eir a ct u al or i m p ut e d s p e e c h a n d e x pr essi o n bri n gs t h e m

  i nt o t h e cr oss h airs of t his a d mi nistr ati o n.

             T his c as e r ais es s eri o us a n d i m p ort a nt c o nstit uti o n al a n d st at ut or y iss u es t h at d es er v e a f ull

  a n d f air a dj u di c ati o n. Y et s u c h a f ull a n d f air a dj u di c ati o n is n ot p ossi bl e if Mr. K h alil is f or c e d t o

  e n d ur e t h e v er y r et ali at or y a n d p u niti v e h ar ms h e is c h all e n gi n g d uri n g t h e p e n d e n c y of t his



                                                                        1
Case 2:25-cv-01963-MEF-MAH                          Document 93                   Filed 03/20/25          Page 7 of 30 PageID: 201




  liti g ati o n. T o r el e as e Mr. K h alil at t h e e n d of w h at m a y pr o v e t o b e a l o n g a n d pr otr a ct e d liti g ati o n

  will b e a h oll o w vi ct or y — m a n y of t h e h ar ms t his liti g ati o n s e e ks t o pr e v e nt will h a v e alr e a d y

  h a p p e n e d.

              T his C o urt h as t h e p o w er, p urs u a nt t o its i n h er e nt a ut h orit y, t o r el e as e Mr. K h alil p e n di n g

  t h e a dj u di c ati o n of his h a b e as p etiti o n. S e e L u c as v. H a d d e n , 7 9 0 F. 2 d 3 6 5 ( 3 d Cir. 1 9 8 6); s e e als o

  M a p p v. R e n o , 2 4 1 F. 3 d 2 2 1 ( 2 d Cir. 2 0 0 1) . T h e a ut h orit y t o r el e as e a h a b e as p etiti o n er p e n d e nt e

  lit e e ns ur es t h at t h e writ of h a b e as c or p us r e m ai ns a n eff e cti v e r e m e d y u n d er e xtr a or di n ar y

  cir c u mst a n c es. S e e L u c as , 7 9 0 F. 2 d at 3 6 7; M a p p , 2 4 1 F. 3 d at 2 3 0. It is h ar d t o i m a gi n e a m or e

  e xtr a or di n ar y s et of cir c u mst a n c es t h a n w h at Mr. K h alil, his pr e g n a nt wif e, a n d his c o m m u nit y of

  s u p p ort ers h a v e e n d ur e d. H e pr es e nts str o n g c o nstit uti o n al a n d st at ut or y cl ai ms c h all e n gi n g his

  arr est, t ar g eti n g, a n d d et e nti o n, t h e h ar ms of w hi c h a c cr u e wit h e a c h p assi n g d a y. M or e o v er, Mr.

  K h alil is n ot a fli g ht ris k or d a n g er t o t h e c o m m u nit y — t o t h e c o ntr ar y, Mr. K h alil h as d e e p f a mil y

  a n d c o m m u nit y ti es a n d n u m er o us p e o pl e w h o att est t o h is c h ar a ct er a n d c o m mit m e nt t o h u m a n

  ri g hts. R es p o n d e nts h a v e n o v ali d j ustifi c ati o n f or his d et e nti o n a n d Mr. K h alil s h o ul d n ot r e m ai n

  d et ai n e d — a n d miss t h e birt h of his first c hil d — w hil e t h e w ei g ht y iss u es i n t his c as e ar e liti g at e d.

  T his C o urt s h o ul d gr a nt Mr. K h alil i m m e di at e r el e as e.

                                                                  F A C TS
  I.          M R. K H A LI L’ S LI F E A N D C O M M U NI T Y TI E S I N T H E U NI T E D S T A T E S .
              Mr. K h alil is P al esti ni a n, b ut w as         b or n a n d r ais e d i n a S yri a n r ef u g e e c a m p b e c a us e

  militi as ass o ci at e d wit h t h e n as c e nt Isr a eli ar m y f or ci bl y r e m o v e d his gr a n d p ar e nts fr o m t h eir

  a n c estr al h o m e i n Ti b eri as , P al esti n e . E C F N o. 3 9, A m e n d e d P etiti o n ( “ A m. P. ”) at ¶ 1 9.2 H e h as

  Al g eri a n citi z e ns hi p t hr o u g h his m ot h er. W h e n        w ar    br o k e o ut i n S yri a, his f a mil y w as a g ai n

  dis pl a c e d a n d ar e n o w dis p ers e d t hr o u g h o ut E u r o p e a n d W est Asi a. Mr. K h alil e nt er e d t h e U nit e d




  2
    S e e als o E C F N o. 1 8 , D e cl ar ati o n of V er o ni c a S al a m a ( v erif yi n g f a ct u al st at e m e nts as t h e y
  p ert ai n t o Mr. K h alil).


                                                                       2
Case 2:25-cv-01963-MEF-MAH                          Document 93                Filed 03/20/25               Page 8 of 30 PageID: 202




  St at es o n a st u d e nt vis a i n or ar o u n d D e c e m b er          2 0 2 2 t o p urs u e a M ast er’s       d e gr e e i n P u bli c

  A d mi nistr ati o n fr o m C ol u m bi a U ni v ersit y’s S c h o ol of I nt er n ati o n al a n d P u bli c Aff airs ( “ SI P A ”).

  E C F N o. 5 5, D e cl ar ati o n of N o or R a m e z A b d all a ( “ A b d all a D e cl. ”) at ¶ 4. Mr. K h alil c o m pl et e d

  his pr o gr a m i n D e c e m b er 2 0 2 4, a n d h as a n a nti ci p at e d gr a d u ati o n d at e of M a y          2 0 2 5. E C F N o.

  5 6- 1, M. P. A. C o nfir m ati o n f or          M a h m o u d K h alil ( “ M. P. A. C o nfir m ati o n ”) . Mr.         K h alil h as a

  si g nifi c a nt a n d di v ers e c o m m u nit y of s u p p ort i n t h e U nit e d St at es i n cl u di n g his U. S. wif e citi z e n,

  cl ass m at es a n d pr of ess ors, pr of essi o n al c oll e a g u es, a n d fri e n ds w h o att est t o his c h ar a ct er,

  c o m mit m e nt t o p e a c e, a n d l e a d ers hi p. S e e E C F N o . 5 6- 6, L ett ers of S u p p ort f or M a h m o u d K h alil

  ( “ L ett ers of S u p p ort ”); A b d all a D e cl. at ¶ ¶ 4, 2 8- 3 0 ; E x. I, S u p pl e m e nt al L ett ers of S u p p ort f or

  M a h m o u d K h alil ( “S u p pl e m e nt al L ett ers of S u p p ort ”).

              Mr. K h alil m et his wif e,           N o or A b d a ll a, a U nit e d St at es citi z e n, i n 2 0 1 6 w hil e t h e y b ot h

  w er e   v ol u nt e eri n g f or a n o n g o v er n m e nt al or g a ni z ati o n i n L e b a n o n, s u p p orti n g e d u c ati o n f or

  S yri a n r ef u g e es. A b d all a D e cl. at ¶ 3. Aft er Mr. K h alil arri v e d i n t h e U nit e d St at es i n 2 0 2 2, Mr.

  K h alil a n d Ms. A b d a ll a g ot m arri e d a n d b e g a n t o b uil d t h eir li v es t o g et h er i n N e w Y or k Cit y. I d.

  at ¶ ¶ 4- 5. I n 2 0 2 4, Mr. K h alil b e c a m e a L a wf ul P er m a n e nt R esi d e nt t hr o u g h his m arri a g e t o Ms.

  A b d a ll a a n d t h e y ar e e x p e cti n g t h eir first c hil d n e xt m o nt h, i n A pril 2 0 2 5. I d. T o g et h er, t h e y li v e

  i n a n a p art m e nt b uil di n g o w n e d a n d o p er at e d b y C ol u m bi a U ni v ersit y. I d. at ¶ 1 1.

            As     a P al esti ni a n, Mr.      K h alil h as f elt c o m p ell e d t o b e a n o uts p o k e n a d v o c at e f or

  P al esti ni a n ri g hts a n d, si n c e O ct o b er 2 0 2 3, h as r e m ai n e d c o m mitt e d t o d e n o u n ci n g w h at h e s e es

  as Isr a el’s s yst e m ati c vi ol e n c e a g ai nst P al esti ni a ns i n G a z a. I d. at ¶ 6. Mr. K h alil h as als o

  criti ci z e d C ol u m bi a U ni v ersit y f or, i n his vi e w, fi n a n ci n g a n d i n ot h er w a ys f a cilit ati n g o n g oi n g

  atr o citi es . Mr. K h alil is c o m mitt e d t o p e a c ef ul pr ot est a n d b ei n g a v oi c e f or his p e o pl e. S e e

  L ett ers of S u p p ort; S u p pl e m e nt al L ett ers of S u p p ort.




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Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25               Page 9 of 30 PageID: 203




              A d diti o n all y, d uri n g t h e st u d e nt pr ot est m o v e m e nt a cr oss u ni v ersit y c a m p us es i n A pril

  2 0 2 4, Mr. K h alil w as c h os e n b y his f ell o w st u d e nts t o b e a l e ad m e di at or a n d n e g oti at or o n

  c a m p us , f a cilit ati n g di al o g u e b et w e e n C ol u m bi a U ni v ersit y’s a d mi nistr ati o n a n d its st u d e nts.

  A m. P. ¶ 2 4. I n t his r ol e, Mr. K h alil a d v o c at e d f or his p e ers t o b e tr e at e d h u m a n el y a n d f airl y

  b y t h e u ni v ersit y, w hil e h el pi n g t o e n s ur e st u d e nt s af et y a n d t h e s m o ot h f u n cti o ni n g of t h e

  u ni v ersit y. I d.; s e e als o L ett ers of S u p p ort; S u p pl e m e nt al L ett ers of S u p p ort . F or e x a m pl e, i n

  t h e spri n g of 2 0 2 4, Mr. K h alil f a cilit at e d n e g oti ati o ns b et w e e n m e m b ers of t h e G a z a S oli d arit y

  E n c a m p m e nt a n d t h e u ni v ersit y a d mi nistr ati o n. A m. P. ¶ 2 4. I n d e e d, Mr. K h alil w as a p pr o a c h e d

  t o t a k e o n t his r ol e b e c a us e of his w or k at a Britis h E m b ass y o v ers e as, a n i nt er ns hi p wit h t h e

  U nit e d     N ati o ns i n N e w Y or k , as w ell             his est a blis h e d r el ati o ns hi ps wit h         t h e u ni versit y

  a d mi nistr ati o n. I d.

              Mr. K h alil st at e d i n a C N N i nt er vi e w i n t h e spri n g of 2 0 2 4 t h at “ as a P al esti ni a n st u d e nt,

  I b eli e v e t h at t h e li b er ati o n of t h e P al esti ni a n p e o pl e a n d t h e J e wis h p e o pl e ar e i nt ert wi n e d a n d

  g o h a n d-b y - h a n d a n d y o u c a n n ot a c hi e v e o n e wit h o ut t h e ot h er. ”3 Mr. K h alil’s pr o mi n e n c e as

  a n o uts p o k e n st u d e nt a cti vist, al o n g wit h       C ol u m bi a U ni v ersit y’s     p ositi o n as a n ati o n al f o c al

  p oi nt of st u d e nt pr ot ests a g ai nst Isr a el’s milit ar y c a m p ai g n i n G a z a o v er t h e p ast y e ar a n d a h alf,

  h a v e pr o p e ll e d Mr. K h alil i nt o t h e p u bli c e y e. His visi bilit y h as b e e n f urt h er a m plifi e d t hr o u g h

  his c o nti n u e d p arti ci p ati o n i n i nt er vi e ws wit h n ati o n al a n d i nt er n ati o n al m e di a o utl ets, i n cl u di n g

  t h e B B C, as w ell as l o c al pr ess c o nf er e n c es.

              Mr.   K h alil’s s p e e c h r e g ardi n g i nt er n ati o n al l a w, t h e o bli g ati o ns t h at t h e U. S. a n d

  C ol u m bi a U ni v ersit y h a v e u n d er t h at l a w, t h e h u m a n ri g hts of t h e P al esti ni a n p e o pl e, a n d



  3
    C h els e a B ail e y, W h o is M a h m o u d K h alil ? P al esti ni a n a cti vist d et ai n e d b y I C E o v er C ol u m bi a
  U ni v ersit y pr ot ests , C N N ( M ar c h 1 1, 2 0 2 5), htt ps:// w w w. c n n. c o m/ 2 0 2 5/ 0 3/ 1 1/ us/ m a h m o u d-
  k h alil- c ol u m bi a- i c e-gr e e n -c ar d - h n k/i n d e x. ht ml.


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Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 10 of 30 PageID:
                                                             204



 r el at e d m att ers a d dr ess es m att ers        of p u bli c c o n c er n a n d is cl e arl y pr ot e ct e d b y t h e First

 A m e n d m e nt. Li k e m a n y st u d e nt a cti vists a d v o c ati n g f or P al esti ni a n ri g hts, Mr.            K h alil h as

 e n d ur e d i m m e ns e s cr uti n y a n d p ers o n al att a c ks b y pri v at e a ct ors, i n cl u di n g d o xi n g a n d

 h ar ass m e nt. A m. P. ¶ 2 8. B ut u ntil r e c e ntl y, h e u n d erst o o d t h at b e c a us e of t h e First A m e n d m e nt,

 t h e g o v er n m e nt w o ul d n ot b e a bl e t o r et ali at e a g ai nst or p u nis h hi m f or his s p e e c h, or sil e n c e

 hi m b y l o c ki n g hi m u p or b a nis hi n g hi m fr o m t h e c o u ntr y, e v e n if p o w erf ul g o v er n m e nt offi ci als

 dis a gr e e d wit h his s p e e c h or vi e w p oi nts. I d.

 II.       M R. K H A LI L’ S A R R E S T, B O O KI N G, A N D T R A N S F E R

           O n t h e e v e ni n g of S at ur d a y, M ar c h 8, 2 0 2 5, at a p pr o xi m at el y 8: 3 0 p. m., Mr. K h alil a n d

 Ms. A b d all a w er e r et ur ni n g t o t h eir C ol u m bi a U ni v ersit y a p art m e nt fr o m a n Ift ar di n n er at a

 fri e n d’s h o m e. A m. P. ¶ 4 5; A b d all a D e cl. at ¶ 1 1. W h e n t h e y arri v e d at t h eir a p art m e nt b uil di n g,

 t w o i n di vi d u als f oll o w e d Mr. K h alil a n d Ms. A b d all a i nt o t h e l o b b y of t h e a p art m e nt b uil di n g,

 w hi c h is o w n e d a n d o p er at e d b y C ol u m bi a U ni v ersit y, w hil e t w o ot h er i n di vi d u als e nt er e d t h e

 b uil di n g t hr o u g h a s e p ar at e e ntr a n c e w aiti n g f or Mr. K h alil’s arri v al. S e e E C F N o. 1 1- 1,

 D e cl ar ati o n of A m y Gr e er ( “ Gr e er D e cl. ”) at ¶ 4; A b d all a D e cl. at ¶ 1 1.

           W h e n t h e i n di vi d u als a p pr o a c h e d Mr. K h alil a n d Ms. A b d all a, t h e y as k e d: “ Ar e y o u

 M a h m o u d K h alil ? ” I d. W h e n Mr. K h alil a ns w er e d i n t h e affir m ati v e, t h e m e n i d e ntifi e d

 t h e ms el v es as b ei n g wit h t h e D e p art m e nt of H o m el a n d S e c urit y a n d st at e d t h at t h e y h a d t o t a k e

 Mr. K h alil i nt o c ust o d y. I d.; Gr e er D e cl. at ¶ 4. T h e a g e nts t ol d Ms. A b d all a t o g o u p t o h er

 a p art m e nt, a n d t hr e at e n e d t h at if s h e r ef us e d , t h e y w o ul d arr est h er, t o o. A b d all a D e cl. at ¶ 1 1.

           Ms. A b d all a r etri e v e d his i m mi gr ati o n d o c u m e nts t o s h o w t h e D H S a g e nts t h at Mr.

 K h alil is a l a wf ul p er m a n e nt r esi d e nt. I d. at ¶ 1 2. S h e h a n d e d t h e d o c u m e nts t o a n a g e nt, w h o

 w as t al ki n g t o s o m e o n e o n t h e p h o n e. T h e a g e nt l o o k e d c o nf us e d w h e n h e s a w t h e d o c u m e nts



                                                                       5
Case 2:25-cv-01963-MEF-MAH                            Document 93               Filed 03/20/25              Page 11 of 30 PageID:
                                                             205



 a n d s ai d: “ h e h as a gr e e n c ar d. ” I d. Th e a g e nt r e p e at e d t h at t h e y w er e or d er e d t o bri n g Mr. K h alil

 i n a n y w a y. A b d all a D e cl. at ¶ 1 3.

             Mr. K h alil pl a c e d a c all t o his att or n e y, A m y Gr e er. Att or n e y Gr e er s p o k e wit h a n a g e nt

 w h o i d e ntifi e d hi ms elf as S p e ci al A g e nt El vi n H er n a n d e z. Gr e er D e cl. at ¶ 4. A g e nt H er n a n d e z

 st at e d t h e y h a d a n a d mi nistr ati v e w arr a nt a n d t h at Mr. K h alil’s st u d e nt vis a h a d b e e n r e v o k e d b y

 t h e U. S. De p art m e nt of St at e a n d t h er ef or e t h e y w er e d et ai ni n g hi m. D es pit e s e v er al r e q u ests b y

 Mr. K h alil t o s e e t h e w arr a nt, t h e a g e nts n e v er s h o w e d hi m t h e a d mi nistr ati v e w arr a nt. Gr e er

 D e cl. at ¶ 5.

             Att or n e y Gr e er a d vis e d A g e nt H er n a n d e z t h at Mr. K h alil is a l a wf ul p er m a n e nt r esi d e nt

 a n d h as t h e ri g ht t o d u e pr o c ess. A g e nt H er n a n d e z r es p o n d e d t h at t h e D e p art m e nt of St at e h a d

 r e v o k e d Mr. K h alil’s gr e e n c ar d, t o o, a n d t h at h e w o ul d b e br o u g ht i n fr o nt of a n i m mi gr ati o n

 j u d g e. A g e nt H er n a n d e z st at e d t h at h e w o ul d b e t a ki n g Mr. K h alil t o 2 6 F e d er al Pl a z a, t h e

 l o c ati o n of t h e I C E Fi el d Offi c e i n M a n h att a n, N e w Y or k. S e e Gr e er D e cl. at ¶ 7; A b d all a D e cl.

 at ¶ 1 4.

             W h e n Att or n e y Gr e er b e g a n t o as k m or e q u esti o ns, A g e nt H er n a n d e z h u n g u p o n h er.

 Gr e er D e cl. at ¶ 5. W h e n Mr. K h alil r e q u est e d t o c all h er b a c k, A g e nt H er n a n d e z r ef us e d t o

 all o w Mr. K h alil t o s p e a k t o his att or n e y a g ai n. Ms. A b d a ll a b e g a n r e c or di n g h er h us b a n d's arr est

 a n d t h e n c all e d Att or n e y Gr e er. 4

             T h e a g e nts t h e n h a n d c uff e d Mr. K h alil a n d br o u g ht hi m o uts i d e w h er e t h er e w er e

 m ulti pl e v e hi cl es w aiti n g. A b d all a D e cl. at ¶ ¶ 1 3 , 1 4. Ms. A b d all a as k e d f or t h e n a m es of t h e

 a g e nts, t h eir c o nt a ct i nf or m ati o n, a n d h o w t o r e a c h t h e m t o f oll o w u p o n h er h us b a n d’s



 4
    Ar m a n d o G ar ci a & L a ur a R o m er o, Vi d e o s h o ws m o m e nt C ol u m bi a a cti vist M a h m o u d K h alil is
 d et ai n e d , A B C N E W S , htt ps:// a b c n e ws. g o. c o m/ U S/ vi d e o-s ho ws - m o m e nt- c ol u m bi a-a cti vist -
 m a h m o u d- k h alil- d et ai n e d/st or y ?i d = 1 1 9 8 1 5 6 6 2 ( M ar c h 1 4, 2 0 2 5, 8: 0 9 P M).


                                                                      6
Case 2:25-cv-01963-MEF-MAH                           Document 93                Filed 03/20/25              Page 12 of 30 PageID:
                                                            206



 d et e nti o n, b ut t h e y o nl y a d vis e d h er t h at Mr. K h alil w o ul d b e t a k e n t o 2 6 F e d er al Pl a z a (i n

 M a n h att a n ), a n d ot h er wis e r ef us e d t o s p e a k wit h h er. I d. at 1 4; Gr e er D e cl. at ¶ 6. T h e y l eft h er

 n o b usi n ess c ar d or a n y i nf or m ati o n at all as t o h o w t o fi n d o ut w h er e h er h us b a n d w as t o b e

 t a k e n, o n w h at gr o u n ds, or w h o s h e c a n c o nt a ct. Gr e er D e cl. at ¶ 7 ; A b d all a D e cl. at ¶ 1 4.

             T h at s a m e ni g ht, Att or n e y Gr e er c h e c k e d t h e I C E D et ai n e e L o c at or ( “ I C E L o c at or” )

 s e v er al ti m es t o c o nfir m h er cli e nt’s l o c ati o n , w hi c h e v e nt u all y list e d hi m as b ei n g i n c ust o d y i n

 N e w Y or k. Gr e er D e cl. at ¶ 1 0 . At ar o u n d 4: 4 0 a. m. o n S u n d a y, M ar c h 9, aft er a g ai n c o nfir mi n g

 his l o c ati o n t hr o u g h t h e I C E L o c at or as b ei n g i n N e w Y or k , Att or n e y Gr e er fil e d t h e ori gi n al

 h a b e as c or p us p etiti o n i n i n t his c as e ( E C F # 2) i n t h e S o ut h er n Distri ct of N e w Y or k. I d. at ¶ 9.

 D uri n g t his ti m e, Mr. K h alil m a d e c o nti n u o us r e q u ests t o c o nt a ct his att or n e y, i n cl u di n g w h e n

 a g e nts as k e d hi m t o si g n s e v er al d o c u m e nts — i n cl u di n g a N oti c e t o A p p e ar ( “ N T A ”) f or r e m o v al

 pr o c e e di n gs a n d a C ust o d y D et er mi n ati o n d o c u m e nt — b ut h e w as r e p e at e dl y d e ni e d. A m. P. ¶

 5 9. Offi c ers t ol d hi m h e c o ul d s p e a k t o a n att or n e y o nl y aft er si g ni n g t h e d o c u m e nts t h e y

 pr es e nt e d t o hi m . He r ef us e d t o si g n wit h o ut a n att or n e y pr es e nt. I d. At s o m e p oi nt i n t h e ni g ht,

 Mr. K h alil w as tr a ns p ort e d i n h a n d c uffs a n d s h a c kl es t o Eli z a b et h D et e nti o n C e nt er i n N e w

 J ers e y ( “ Eli z a b et h ”). I d. at ¶ 6 1.

            T h e n e xt m or ni n g, ar o u n d 8: 3 0 a. m. o n S u n d a y, M ar c h 9, t h e I C E l o c at or i n di c at e d t h at

 Mr. K h alil w as still i n N e w Y or k. Gr e er D e cl. at ¶ 1 0. S o m eti m e aft er 9 a. m. o n S u n d a y, t h e I C E

 l o c at or c h a n g e d t o s a y t h at Mr. K h alil w as d et ai n e d i n Eli z a b et h, N e w J ers e y. I d. at ¶ 1 1. Ar o u n d

 1 1: 2 0 a. m., Ms. A b d all a w e nt t o t h e Eli z a b et h D et e nti o n C e nt er t o s e e hi m, b ut s h e w as t ol d t h at

 Mr. K h alil w as n ot s h o wi n g u p i n t h e s yst e m. I d.; A b d all a D e cl. at ¶ 1 6.

             Ar o u n d 2 p. m. o n S u n d a y, M ar c h 9, aft er m ulti pl e e m ails t o I C E t o att e m pt t o r e a c h Mr.

 K h alil, c o u ns el w as i nf or m e d t h at Mr. K h alil w as i n t h e pr o c ess of b ei n g tr a nsf err e d t o a d et e nti o n




                                                                      7
Case 2:25-cv-01963-MEF-MAH                           Document 93                Filed 03/20/25             Page 13 of 30 PageID:
                                                            207



 f a cilit y wit hi n t h e N e w Orl e a ns E R O Fi el d Offi c e, o v er 1, 0 0 0 mil es a w a y. Gr e er D e cl. at ¶ 1 2.

 C o u ns el r e a c h e d o ut t o t h e U. S. Att or n e y’s Offi c e f or t h e S o ut h er n Distri ct of N e w Y or k, w hi c h

 c o nfir m e d t h at Mr. K h alil w as e n r o ut e t o L o uisi a n a. C o u ns el r e q u est e d Mr. K h alil’s i m m e di at e

 r et ur n, b ut w as t ol d t h at I C E w o ul d n ot c o ns e nt t o his r et ur n a bs e nt a c o urt or d er. Ar o u n d 1 2 p. m.

 o n S u n d a y, M ar c h 9, I C E offi c ers h a n d c uff e d a n d s h a c kl e d Mr. K h alil a n d pl a c e d hi m i n a v a n

 a n d t ol d hi m h e w as t h e n g oi n g b a c k i nt o N e w Y or k Cit y t o J F K Air p ort . A m. P. ¶ 6 3. H e w as

 b o o k e d i nt o t h e C e ntr al L o uisi a n a I C E Pr o c essi n g C e nt er i n J e n a, L A, e arl y i n t h e m or ni n g of

 M o n d a y, M ar c h 1 0. W h e n Mr. K h alil’s c o u ns el att e m pt e d t o s c h e d ul e a t el e p h o n e c all wit h Mr.

 K h alil — a pr o c ess t h at t y pi c all y o c c urs t h e s a m e d a y or t h e n e xt d a y i n N e w Y or k — a ut h oriti es

 i n t h e L o uisi a n a I C E d et e nti o n f a cilit y, r u n b y a pri v at e pris o n o p er at or, off er e d a d at e t e n d a ys

 a w a y. Ms. A b d all a, w h o is 8 -m o nt hs pr e g n a nt, is u n a bl e t o tr a v el t o L o uisi a n a t o s e e Mr. K h alil

 b e c a us e s h e is i n h er t hir d tri m est er . A b d all a D e cl. at ¶ 2 8.

           O n M ar c h 9, Pr esi d e nt Tr u m p iss u e d a st at e m e nt o n Tr ut h S o ci al a p pl a u di n g I C E f or

 arr esti n g Mr. K h alil, w h o m h e d es cri b e d as a “ R a di c al F or ei g n Pr o -H a m as St u d e nt o n t h e c a m p us

 of C ol u m bi a U ni v ersit y. ” 5 T h e Pr esi d e nt e m p h asi z e d t h at Mr. K h alil’s arr est w as “t h e first of

 m a n y t o c o m e, ” d e cl ari n g t h at his a d mi nistr ati o n w o ul d n ot t ol er at e “st u d e nts at C ol u m bi a a n d

 ot h er u ni v ersiti es a cr oss t h e c o u ntr y w h o h a v e e n g a g e d i n pr o -t err orist, a nti-S e miti c, a nti -

 A m eri c a n a cti vit y, ” w hil e pr o misi n g t o “fi n d, a p pr e h e n d, a n d d e p ort t h es e t err orist s y m p at hi z ers

 fr o m o ur c o u ntr y. ”

           T h e W hit e H o us e r e p ost e d Pr esi d e nt Tr u m p’s st at e m e nt o n t h e s o ci al m e di a pl atf or m X,

 a c c o m p a ni e d b y a m u g -st yl e gr a p hi c f e at uri n g a n i m a g e of Mr. K h alil. S urr o u n di n g t h e p h ot o w er e



 5
     D o n al d J. Tr u m p ( @r e al D o n al d Tr u m p), Tr ut h S o ci al ( M ar. 1 0, 2 0 2 5, 1: 0 5 P M),
 htt ps://tr ut hs o ci al. c o m/ @r e al D o n al d Tr u m p/ p osts/ 1 1 4 1 3 9 2 2 2 6 2 5 2 8 4 7 8 2.



                                                                      8
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25               Page 14 of 30 PageID:
                                                               208



 t h e w or ds “ A R R E S T E D B Y I C E O N M A R C H 9, 2 0 2 5 ” a n d “ L E D A C TI VI TI E S A LI G N E D T O

 H A M A S. ” 6 T h e         W hit e H o us e c a pti o n i n cl u d e d t h e p hr as e “ S H A L O M,            M A H M O U D ” b ef or e

 q u oti n g t h e Pr esi d e nt’s st at e m e nt.

            S e cr et ar y of St at e M ar c o R u bi o st at e d, “ W e will b e r e v o ki n g t h e vis as a n d/ or gr e e n c ar ds

 of H a m as s u p p ort ers i n A m eri c a s o t h e y c a n b e d e p ort e d. ” T h e f oll o wi n g d a y, t h e D e p art m e nt of

 H o m el a n d S e c urit y iss u e d a st at e m e nt t hr o u g h its s o ci al m e di a a c c o u nt, X, c o nfir mi n g                   Mr.

 K h alil’s arr est b y I C E w as c arri e d o ut “i n s u p p ort of Pr esi d e nt Tr u m p’s e x e c uti v e or d ers

 pr o hi biti n g a nti -S e mitis m, a n d i n c o or di n ati o n wi t h t h e D e p art m e nt of St at e. ” T h e st at e m e nt als o

 a c c us e d Mr. K h alil of h a vi n g “l e d a cti viti es ali g n e d t o H a m as, a d esi g n at e d t err orist or g a ni z ati o n ”

 a n d ass ert e d t h at b ot h “I C E a n d t h e D e p art m e nt of St at e ar e c o m mitt e d t o e nf or ci n g Pr esi d e nt

 Tr u m p’s e x e c uti v e or d ers a n d t o pr ot e cti n g U. S. n ati o n al s e c urit y. ” 7

            O n M ar c h 1 1, i n r es p o ns e t o a n i n q uir y fr o m t h e N Y Ti m es r e g ar di n g Mr. K h alil’s arr est,

 a s p o k es p ers o n f or t h e a d mi nistr ati o n r e p ort e dl y st at e d t h at “ U nit e d St at es’ f or ei g n p oli c y i n cl u d es

 c o m b ati n g a nt is e mitis m a cr oss t h e gl o b e a n d t h at Mr. K h alil’s r esi d e n c y i n t h e n ati o n u n d er mi n es

 t h at p oli c y o bj e cti v e. ” 8

            At a W hit e H o us e Pr ess Bri efi n g o n M ar c h 1 1, Pr ess S e cr et ar y K ar oli n e L e a vitt r es p o n d e d

 t o q u esti o ns a b o ut t h e arr est, ass erti n g t h at t h e S e cr et ar y of st at e h as “t h e ri g ht t o r e v o k e a gr e e n




 6
     T h e W hit e H o us e ( @ W hit e H o us e), X ( M ar. 1 0, 2 0 2 5, 1: 3 4 P M),
 htt ps:// x. c o m/ W hit e H o us e/st at us/ 1 8 9 9 1 5 1 9 2 6 7 7 7 7 4 9 6 1 8.
 7
      H o m el a n d S e c urit y ( @ D H S g o v), X ( M ar. 9, 2 0 2 5, 9: 2 9 P M),
 htt ps:// x. c o m/ D H S g o v/st at us/ 1 8 9 8 9 0 8 9 5 5 6 7 5 3 5 7 3 1 4; S uri n a V e n k at, D e p art m e nt of H o m el a n d
 S e c urit y c o nfir ms arr est of P al esti ni a n a cti vist M a h m o u d K h alil, SI P A ’ 2 4 , CO L U M BI A
 S P E C T A T O R , htt ps:// w w w. c ol u m bi as p e ct at or. c o m/ n e ws/ 2 0 2 5/ 0 3/ 1 0/ d e p art m e nt- of- h o m el a n d-
 s e c urit y-c o nfir ms -arr est - of-p al esti ni a n -a cti vist - m a h m o u d- k h alil-si p a- 2 4/ ( M ar. 1 0, 2 0 2 5,
 1 2: 4 3 A M).
 8
     htt ps:// ar c hi v e. p h/r D 4s k #s el e cti o n- 1 1 4 7. 0- 1 1 5 9. 4 2 8



                                                                         9
Case 2:25-cv-01963-MEF-MAH                             Document 93                Filed 03/20/25              Page 15 of 30 PageID:
                                                              209



 c ar d or a vis a f or i n di vi d u als w h o s er v e or ar e a d v ers ari al t o t h e f or ei g n p oli c y a n d n ati o n al s e c urit y

 i nt er est ” a n d a c c usi n g Mr. K h alil of “si di n g wit h t err orists. ” 9 I n a pr ess c o nf er e n c e r e g ar di n g t his

 c as e o n M ar c h 1 3, 2 0 2 5, S e cr et ar y of St at e R u bi o st at e d, “if y o u t ell us t h at y o u ar e i n f a v or of a

 gr o u p li k e t his [ H a m as], a n d if y o u t ell us . . . I i nt e n d t o c o m e t o y o ur c o u ntr y as a st u d e nt, a n d

 ril e u p all ki n ds of a nti-J e wis h . . . a ntis e miti c a cti viti es, ” a n d “if y o u e n d u p h a vi n g a gr e e n c ar d .

 . . w e’r e g o n n a ki c k y o u o ut. ”1 0

 III.        T H E O N G OI N G H A R M S O F M R. K H A LI L’ S D E T E N TI O N

             Mr. K h alil’s wif e, Ms. A b d all a , is pr es e ntl y i n h er ei g ht h m o nt h of pr e g n a n c y, a n d is d u e

 t o gi v e birt h at t h e e n d of A pril 2 0 2 5. A b d all a D e cl. at ¶ 2 0 ; E C F N o. 5 6 - 5, M e di c al L ett ers f or

 N o or A b d all a ( “ A b d all a M e di c al L ett ers ”). Mr. K h alil h as c o nstit ut e d t h e e ntir et y of h er s u p p ort

 s yst e m si n c e t h e st art of h er pr e g n a n c y, r e g ul arl y att e n di n g d o ct or’s a p p oi nt m e nts wit h h er,

 u n d ert a ki n g all h o us e h ol d c h or es f or t h e b ot h of t h e m, a n d e ns uri n g h er c o m pli a n c e wit h

 pr es cri b e d m e di c ati o n r e gi m e ns. A b d al l a D e cl. at ¶¶ 2 0- 2 4. Ms. A b d all a h as e x p eri e n c e d p h ysi c al

 and     m e nt al h e alt h c o m pli c ati o ns ass o ci at e d        wit h h er pr e g n a n c y, i n cl u di n g a n e pis o d e of

 h os pit ali z ati o n , t h at Mr. K h alil h as d utif ull y s u p p ort e d h er t hr o u g h. I d. at ¶ ¶ 2 2- 2 4. Pr es e ntl y, Ms.

 A b d all a is wit h o ut t his ess e nti al s u p p ort fr o m h er h us b a n d, all w hil e e n d uri n g t h e i ns ur m o u nt a bl e

 e m oti o n al t oll of his c o nti n u e d d et e nti o n a n d t h e pr os p e ct of gi vi n g birt h wit h o ut hi m. I d. at ¶ ¶ 2 5 ,

 2 9- 3 0.

             Mr. K h alil a n d Ms. A b d all a als o s h a p e d t h eir pl a ns f or t h e f ort h c o mi n g m o nt hs a n d t h e

 birt h of t h eir c hil d n at ur all y ass u mi n g t h at          Mr. K h alil — a l a wf ul p er m a n e nt r esi d e nt wit h n o

 cri mi n al r e c or d — w o ul d r e m ai n fr e e, at Ms. A b d all a’s si d e. I d. at ¶ 2 6 - 2 7. As s u c h, Ms. A b d all a

 pl a n n e d t o b e gi n h er m at er nit y l e a v e, j ust as Mr. K h alil w as d u e t o b e gi n e m pl o y m e nt at a h u m a n


 9
      W hit e H o us e D ail y Bri efi n g, C- S P A N ( M ar. 1 1, 2 0 2 5), htt ps:// w w w. c -s p a n. or g/ pr o gr a m/ w hit e-
 h o us e- e v e nt/ w hit e - h o us e-d ail y - bri efi n g/ 6 5 7 0 2 2 (ti m est a m p 1 0: 1 6).
 10
     S e cr et ar y of St at e M ar c o R u bi o R e m ar ks t o Pr ess ( M ar. 1 2, 2 0 2 5), htt p://st at e. g o v/s e cr et ar y -
 of- st at e-m ar c o -r u bi o-r e m ar ks-t o-pr ess/ .


                                                                       10
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 16 of 30 PageID:
                                                             210



 ri g hts or g a ni z ati o n i n N e w Y or k Cit y at t h e st art of A pril. I d. N o w, Ms. A b d all a c o m m e n c es h er

 m at er nit y l e a v e wit h o ut t h e pr oj e ct e d i n c o m e fr o m Mr. K h alil’s n e w, f ull -ti m e e m pl o y m e nt, a n d

 is l eft wit h o nl y a di mi nis h e d p er c e nt a g e of h er or di n ar y s al ar y. I d. at ¶ 2 7. T h e c o u pl e als o pl a n n e d

 f or Ms. A b d all a t o gi v e birt h i n N e w Y or k Cit y, i nst e a d of Mi c hi g a n— w h er e h er f a mil y r esi d es —

 a nti ci p ati n g t h e n e e ds of Mr. K h alil’s e m pl o y er. I d. at ¶ 2 6 . S h o ul d Mr. K h alil’s d et e nti o n pr ol o n g,

 his wif e will gi v e birt h f ar fr o m h er f a mil y’s r esi d e n c e a n d wit h o ut h er h us b a n d. I d. at ¶ 2 7.

            Mr. K h alil e x p eri e n c es d et e nti o n u nt et h er e d fr o m his h a bit u al f a mili al,           r eli gi o us, a n d

 c oll e gi at e c o m m u nit y. H e f a c es t h e pr os p e ct of missi n g t h e birt h of his first c hil d, a n d is alr e a d y

 l osi n g pr e ci o us ti m e s u p p orti n g his wif e t hr o u g h h er pr e g n a n c y. A n d r at h er t h a n e x p eri e n ci n g t h e

 h ol y m o nt h of R a m a d a n wit h his wif e, i n t h e c o m p a n y of t h eir c o m m u nit y a n d pr a cti c e of t h e

 pr a y er a n d rit u als t h at us u all y m ar k t h e m o nt h f or t h e c o u pl e, Mr. K h alil l a n g uis h es i n d et e nti o n,

 f ar fr o m his a n c h ori n g r eli gi o us c o m m u nit y, u n a bl e t o st o m a c h f o o d a n d c o nti n ui n g t o n a vi g at e

 t h e si d e eff e cts of a p er v asi v e st o m a c h ul c er. A b d all a D e cl. at ¶ 2 8 . All t h e w hil e, Mr. K h alil’s

 wif e, b e ari n g t h e fi n al w e e ks of h er pr e g n a n c y, is als o u n a bl e t o sl e e p or e at, or ot h er wis e c ar e f or

 h ers elf, e x p eri e n ci n g t h e i m m e ns e h ar ds hi p of his a bs e n c e. I d. at ¶ ¶ 2 4, 2 9- 3 0. Mr. K h alil’s

 “ a bs e n c e is n ot o nl y f elt b y his fri e n ds a n d f a mil y, b ut b y t h e e ntir e a c a d e mi c a n d pr of essi o n al

 c o m m u nit y t h at h e is a p art of. ” S e e L ett ers of S u p p ort.

            If r el e as ed , Mr. K h alil will r et ur n t o his h o m e wit h his U. S. citi z e n wif e a n d h el p h er

 pr e p ar e f or t h e birt h of t h eir c hil d . I d. at ¶ 3 0 . H e will b e gi n his j o b i n N e w Y or k Cit y a n d pr o vi d e

 f or his f a mil y. I d. H e will h a v e t h e s u p p ort of t h e m a n y c urr e nt a n d f or m er cl ass m at es, pr of ess ors,

 c oll e a g u es, a n d fri e n ds w h o ar e c alli n g f or his r el e as e. S e e L ett ers of S u p p ort ; S u p pl e m e nt al

 L ett ers of S u p p ort . H e h as n e v er b e e n a c c us e d of b ei n g a fli g ht ris k or a d a n g er t o t h e c o m m u nit y,

 a n d a n y s o ci al -m e di a -f u el e d s u g g esti o n ot h er wis e is b eli e d b y t h e d et ail e d st at e m e nts of s u p p ort

 b y t h os e w h o a ct u all y k n o w hi m i n p ers o n al, a c a d e mi c, a n d pr of essi o n al s etti n gs. I d.




                                                                      11
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 17 of 30 PageID:
                                                             211



                                                             A R G U ME NT
 I.         T HI S C O U R T H A S A U T H O RI T Y T O G R A N T M R. K H A LI L’ S I M M E DI A T E
            R E L E A S E P E N DI N G T H E A D J U DI C A TI O N O F T HI S H A B E A S P E TI TI O N
            U N D E R L U C A S V. H A D D E N A N D M A P P V. R E N O .

            T his C o urt h as t h e a ut h orit y t o gr a nt Mr. K h alil ’s r ele as e p e n di n g a dj u di c ati o n of his

 h a b e as u n d er L u c as v. H a d d e n , 7 9 0 F. 2 d 3 6 5 ( 3 d Cir. 1 9 8 6); s e e als o M a p p v. R e n o , 2 4 1 F. 3 d 2 2 1,

 ( 2 d Cir. 2 0 0 1).1 1 U n d er L u c as, “ c o urts t h at h a v e b e e n f a c e d wit h r e q u ests f or b ail pri or t o r uli n g

 o n a h a b e as p etiti o n h a v e d e v el o p e d st a n d ar ds r e q uiri n g t h at a h a b e as p etiti o n er ( 1) m a k e o ut a

 cl e ar c as e f or h a b e as r eli ef o n t h e l a w a n d f a cts, or ( 2) est a blis h t h at e x c e pti o n al cir c u ms t a n c es

 e xist w arr a nti n g s p e ci al tr e at m e nt, or b ot h. ” 7 9 0 F. 2 d at 3 6 7 ( citi n g E at o n v. H ol br o o k , 6 7 1 F. 2 d

 6 7 0, 6 7 0 ( 1st Cir. 1 9 8 2); I ut eri v. N ar d oz a, 6 6 2 F. 2 d 1 5 9, 1 6 1 ( 2 d Cir. 1 9 8 1); C all e y v. C all a w a y ,

 4 9 6 F. 2 d 7 0 1, 7 0 2 ( 5t h Cir. 1 9 7 4)); s e e als o L a n d a n o v. R aff ert y , 9 7 0 F. 2 d 1 2 3 0, 1 2 3 9 ( 3 d Cir.

 1 9 9 2) (r e c o g ni zi n g i n h er e nt p o w er t o r el e as e p ers o n o n b ail i n t h e cri mi n al c o nt e xt); M a p p v.

 R e n o , 2 4 1 F. 3 d at 2 2 3 (r e c o g ni zi n g i n h er e nt p o w er t o r el e as e p ers o n o n b ail i n t h e i m mi gr ati o n

 h a b e as c o nt e xt). C o urts i n t h e T hir d Cir c uit h a v e a c c or di n gl y r el e as e d i n di vi d u als p urs u a nt t o t his

 a ut h orit y , i n cl u di n g i n t h e i m mi gr ati o n h a b e as c o nt e xt. S e e, e. g., L esli e v. H ol d er , 8 6 5 F. S u p p. 2 d

 6 2 7, 6 3 4 ( M. D. P a. M ar. 2 9, 2 0 1 2) ( “[ S] ettl e d c as e l a w … h as l o n g r e c o g ni z e d t h at t h e p o w er t o

 or d er b ail i n h a b e as pr o c e e di n gs is a l e g al a n d l o gi c al c o n c o mit a nt of t h e c o urt’s h a b e as c or p us

 j uris di cti o n. I n f a ct, o ur a ut h orit y t o a ct i n t h es e m att ers h as b e e n l o n g r e c o g ni z e d, a n d c ar ef ull y

 d efi n e d, b y t h e c o urts w hi c h h a v e h el d g e n er all y i n h a b e as c or p us m att ers t h at t h e c o urt m a y

 c o nsi d er b ail m oti o ns a n d h a v e pr es cri b e d l e g al st a n d ar ds f or s u c h r eli ef. ”).

            U n d er t h e a p pli c a bl e st a n d ar ds, “ a c o urt c o nsi d eri n g a h a b e as p etiti o n er’s fit n ess f or b ail

 m ust i n q uir e i nt o      w h et h er ‘t h e h a b e as p etiti o n r ais e[s] s u bst a nti al cl ai ms a n d [ w h et h er]

 11
       N u m er o us c o urts i n t h e T hir d Cir c uit h a v e cit e d L u c as a n d M a p p i n s u p p ort of t h e i n h er e nt
 a ut h orit y of c o urts t o r el e as e h a b e as p etiti o n ers o n b ail p e n d e nt e lit e. S e e, e. g., L esli e v. H ol d er,
 8 6 5 F. S u p p. 2 d 6 2 7, 6 3 4 – 3 5 ( M. D. P a. 2 0 1 2) ( “ T h e M a p p c o urt's a n al ysis of t his iss u e is
 c o nsist e nt wit h c as e l a w i n t his cir c uit, is hi g hl y p ers u asi v e, a n d t his C o urt h as pr e vi o usl y cit e d
 M a p p ’s a n al yti c al p ar a di g m wit h a p pr o v al. ”) (i nt er n al cit ati o ns o mitt e d); N asr v. H o g a n , N o.
 0 8 – 4 1 5, 2 0 0 8 W L 2 7 0 5 5 3 3, at * 2 ( M. D. P a. J ul y 1 0, 2 0 0 8) ( “ Alt h o u g h M a p p is fr o m t h e S e c o n d
 Cir c uit, w e b eli e v e its r e as o ni n g is s o u n d a n d e q u all y a p pli c a bl e t o t h e i ns t a nt c as e. ”).


                                                                      12
Case 2:25-cv-01963-MEF-MAH                             Document 93                 Filed 03/20/25               Page 18 of 30 PageID:
                                                              212



 e xtr a or di n ar y cir c u mst a n c es e xist [ ] t h at m a k e t h e gr a nt of b ail n e c ess ar y t o m a k e t h e h a b e as

 r e m e d y eff e cti v e.’ ” L esli e , 8 6 5 F. S u p p. 2 d at 6 3 5 ( a p pl yi n g L u c as a n d M a p p ). E xtr a or di n ar y

 cir c u mst a n c es u n d er L u c as a n d M a p p             i n cl u d e th e a bs e n c e of i n di ci a of fli g ht ris k or

 d a n g er o us n ess, str o n g f a mil y or c o m m u nit y ti es, h e alt h c o n c er ns, a n d i m p a ct o n mi n or c hil dr e n.

 S e e L esli e , 8 6 5 F. S u p p. 2 d at 6 3 8 ( or d eri n g i m m e di at e r el e as e of p etiti o n er t h at h a d b e e n i n

 d et e nti o n d u e i n p art t o a n e x c essi v e b o n d s et b y t h e a g e n c y, s uff er e d fr o m h e alt h c o n diti o ns, h a d

 e ar n e d his G E D a n d e n g a g e d i n dr u g tr e at m e nt a n d c o u ns eli n g w hil e i n pris o n, a n d h a d s u bst a nti al

 f a mil y ti es i n t h e U. S.); s ee als o Cristi a n A. R. v. D e c k er, 4 5 3 F. S u p p. 3 d 6 7 0, 6 8 9 - 9 0 ( D. N.J.

 2 0 2 0) ( or d eri n g r el e as e i n li g ht of s u bst a nti al d u e pr o c ess c h all e n g e t o d et e nti o n a n d e xtr a or di n ar y

 cir c u mst a n c e p os e d b y ris k of s eri o us i nj ur y d u e t o C O VI D - 1 9); 1 2 H a n T a k L e e v. C a m er o n , N o.

 4: 0 8- C V -1 9 7 2, 2 0 1 4 W L 4 1 8 7 5 9 0, at * 3 - * 4 ( M. D. P a. A u g. 2 2, 2 0 1 4) ( or d eri n g r el e as e o n b ail i n

 cri mi n al c as e s e e ki n g n e w tri al b as e d o n s e v er al f a ct ors, i n cl u di n g p etiti o n er’s l a c k of a pri or

 cri mi n al r e c or d, mi ni m al dis ci pli n ar y r e c or d w hil e i n c ar c er a t e d, a n d t h e s u p p ort of t hir d p arti es

 u p o n his r el e as e ); s e e als o S. N. C. v. S essi o ns, N o. 1 8 CI V. 7 6 8 0 ( L G S), 2 0 1 8 W L 6 1 7 5 9 0 2, at * 6

 ( S. D. N. Y. N o v. 2 6, 2 0 1 8) ( or d eri n g i m m e di at e r el e as e i n li g ht of p etiti o n er’s d u e pr o c ess cl ai m

 a n d n e e d f or c o u ns eli n g a n d c ar e f or h er mi n or c hil dr e n); Ki a dii v. S essi o ns , 4 2 3 F. S u p p. 3 d 1 8 ,

 2 0- 2 1 ( S. D. N. Y. M ar. 2, 2 0 1 8) ( or d eri n g i m m e di at e r el e as e w h e n t h e p etiti o n er pr es e nt e d str o n g

 c o nstit uti o n al cl ai m a n d e vi d e n c e t h at “ h er h e alt h h as d et eri or at e d w hil e i n I C E’s c ust o d y ”);

 D’ Al ess a n dr o v. M u k as e y , N o. 0 8 Ci v. 9 1 4, 2 0 0 9 W L 7 9 9 9 5 7, at * 3 ( W. D. N. Y. M ar. 2 5, 2 0 0 9)

 ( or d eri n g i m m e di at e r el e as e gi v e n his pr ol o n g e d d et e nti o n, his “str o n g f a mil y ti es, ” “ a n u m b er of

 12
     S e v er al distri ct c o urts, si mil ar t o Cristi a n A. R. , or d er e d t h e i m m e di at e r el e as e of p etiti o n ers at
 h ei g ht e n e d ris k of s eri o us i nj ur y or d e at h d u e t o C O VI D- 1 9. S e e, e. g., A s m e d B. v. D e c k er, 4 6 0
 F. S u p p. 3 d 5 1 9 ( D. N.J. 2 0 2 0); K ol a w ol e O. T. v. A hr e n dt, 4 6 6 F. S u p p. 3 d 4 5 7 ( D. N.J. 2 0 2 0);
 A nt h o n y O. v. D e c k er, N o. C V 2 0- 3 8 5 6 ( M C A), 2 0 2 0 W L 2 5 7 1 8 9 7 ( D. N.J. M a y 2 0, 2 0 2 0);
 J ef ers o n V. G. v. D e c k er , N o. C V 2 0- 3 6 4 4 ( K M), 2 0 2 0 W L 1 8 7 3 0 1 8 ( D. N.J. A pr. 1 5, 2 0 2 0);
 J os e B. R. v. Ts o u k aris , N o. C V 2 0- 3 3 4 7 ( M C A), 2 0 2 0 W L 2 7 4 4 5 8 6 ( D. N.J. M a y 2 7, 2 0 2 0);
 D ur el B. v. D e c k er , 4 5 5 F. S u p p. 3 d 9 9 ( D. N.J. 2 0 2 0); R af a el L. O. v. Ts o u k aris , N o. C V 2 0 - 3 4 8 1
 (J M V), 2 0 2 0 W L 1 8 0 8 8 4 3 ( D. N.J. A pr. 9, 2 0 2 0); C arl os M. R. v. D e c k er , N o. C V 2 0 - 6 0 1 6
 ( M C A), 2 0 2 0 W L 4 3 3 9 4 5 2 ( D. N.J. J ul y 2 8, 2 0 2 0); R e n at T. v. D e c k er , N o. C V 2 0- 4 6 5 8 ( M C A),
 2 0 2 0 W L 3 8 1 9 2 2 7 ( D. N.J. J ul y 8, 2 0 2 0).


                                                                        13
Case 2:25-cv-01963-MEF-MAH                             Document 93                Filed 03/20/25               Page 19 of 30 PageID:
                                                              213



 s eri o us, p ot e nti all y d e bilit ati n g h e alt h pr o bl e ms, ” a n d t h at “[t] h er e is n o e vi d e n c e i n t h e r e c or d

 w h ats o e v er t o s u p p ort a fi n di n g t h at D’Al ess a n dr o is a fli g ht ris k or is a d a n g er t o t h e c o m m u nit y ”).

 U nl ess t h e G o v er n m e nt is a bl e t o s h o w t h at “ ‘c o nti n u e d d et e nti o n is n e c ess ar y t o f ulfill t h e

 p ur p os es of t h e d et e nti o n st at ut e,’ ” t h e i n di vi d u al m ust b e r el e as e d. L esli e , 8 6 5 F. S u p p. 2 d at 6 3 6

 ( citi n g Di o p v. I C E/ H o m el a n d S e c ., 6 5 6 F. 3 d 2 2 1, 2 3 3 ( 3 d Cir. 2 0 1 1), o v err ul e d o n ot h er gr o u n ds

 b y J e n ni n gs v. R o dri g u ez , 1 3 8 S. Ct. 8 3 0 ( 2 0 1 8)).

            C o urts h a v e a p pli e d diff er e nt st a n d ar ds t o ass ess w h at c o nstit ut es “ s u bst a nti al cl ai ms ”

 a n d/ or “ cl e ar r eli ef ” f or t h e p ur p os e of r el e as e p e n di n g h a b e as a dj u di c ati o n. S e e L a n d a n o , 9 7 0

 F. 2 d at 1 2 3 6 ( dis c ussi n g, i n a cri mi n al h a b e as c as e, t h at a p etiti o n er m u st r ais e “ s u bst a nti al

 c o nstit uti o n al cl ai ms u p o n w hi c h h e h as a hi g h pr o b a bilit y of s u c c ess ” ); L esli e , 8 6 5 F. S u p p. 2 d at

 6 3 5 ( dis c ussi n g st a n d ar ds a p pl yi n g i n i m mi gr ati o n a n d cri mi n al c as es, i n cl u di n g t h at “ t h e n e c essit y

 t h at t h e p etiti o n pr es e nt m erits t h at ar e m or e t h a n sli g htl y i n p etiti o n er's f a v or ”). B e c a us e t his c as e

 i n v ol v es a dis p ut e o v er t h e l e g alit y of R es p o n d e nts’ t ar g eti n g, arr est, tr a nsf er, a n d d et e nti o n of Mr.

 K h alil p e n di n g ci vil i m mi gr ati o n pr o c e e di n gs (s u c h t h at t h e st at us q u o pri or t o t h e p r es e nt

 c o ntr o v ers y is Mr.      K h alil b ei n g fr e e fr o m d et e nti o n), P etiti o n er ar g u es t h at h e n e e d o nl y

 d e m o nstr at e s eri o us      q u esti o ns    g oi n g t o t h e        m erits    of     his cl ai ms ( a n d e xtr a or di n ar y

 cir c u mst a n c es) i n or d er t o b e c o nsi d er e d f or b ail. H o w e v er, e v e n u n d er t h e hei g ht e n e d st a n d ar d

 arti c ul at e d i n L a n d a n o , P etiti o n er d o es r ais e s u bst a nti al c o nstit uti o n al cl ai ms u p o n w hi c h h e h as a

 hi g h pr o b a bilit y of s u c c ess. M or e o v er, i n t his c as e, t h er e is n o h ar m t o t h e g o v er n m e nt if P etiti o n er

 r e m ai ns at li b ert y p e n di n g a dj u di c ati o n of t h e p etiti o n, or e v e n e m er g e nt r eli ef, b e c a us e n o l a w

 m a n d at es his d et e nti o n a n d h e is n ot a fli g ht ris k or d a n g er. O n t h e ot h er h a n d, t h e h ar m of

 c o nti n u e d d et e nti o n t o P etiti o n er is e xtr a or di n ar y, i n li g ht of t h e birt h of his first c hil d i n t h e c o mi n g

 d a ys or w e e ks a n d t h e u n d erl yi n g First A m e n d m e nt a n d D u e Pr o c ess iss u es i n t his c as e.




                                                                       14
Case 2:25-cv-01963-MEF-MAH                             Document 93                 Filed 03/20/25               Page 20 of 30 PageID:
                                                              214



 II.        M R. K H A LI L M E E T S T H E S T A N D A R D F O R L U C A S A N D M A P P R E L E A S E .
            A. M R. K H A LI L R AI S E S S U B S T A N TI A L C L AI M S A N D A C L E A R C A S E F O R
               H A B E A S R E LI E F
            Mr. K h alil r ais es s u bst a nti al cl ai ms a n d a cl e ar c as e f or h a b e as r eli ef . T hr o u g h his a m e n d e d

 h a b e as c or p us p etiti o n, 1 3 Mr. K h alil s e e ks t o pr ot e ct his ri g hts u n d er t h e First A m e n d m e nt, t h e

 D u e Pr o c ess Cl a us e of t h e Fift h A m e n d m e nt, t h e A d mi nistr ati v e Pr o c e d ur e A ct a n d t h e A c c ar di

 d o ctri n e. E a c h of t h es e cl ai ms ar e s u bst a nti al.

            First, t h e First A m e n d m e nt cl ai ms ar e s u bst a nti al a n d d e m o nstr at e a cl e ar b asis f or

 u n c o nstit uti o n al First A m e n d m e nt r et ali ati o n a n d vi e w p oi nt dis cri mi n ati o n . “[ S] p e e c h o n p u bli c

 iss u es o c c u pi es t h e ‘ hi g h est r u n g of t h e hi er ar c h y of First A m e n d m e nt v al u es,’ a n d is e ntitl e d t o

 s p e ci al pr ot e cti o n. ” C o n ni c k v. M y ers, 4 6 1 U. S. 1 3 8, 1 4 5 ( 1 9 8 3). I n p arti c ul ar, “s p e e c h criti c al of

 t h e e x er cis e of t h e St at e’s p o w er li es at t h e v er y c e nt er of t h e First A m e n d m e nt. ” G e ntil e v. St at e

 B ar of N e v. , 5 0 1 U. S. 1 0 3 0, 1 0 3 4 ( 1 9 9 1). “ W h e n t h e g o v er n m e nt t ar g ets n ot s u bj e ct m att er, b ut

 p arti c ul ar vi e ws t a k e n b y s p e a k ers o n a s u bj e ct, t h e vi ol ati o n of t h e First A m e n d m e nt is all t h e

 m or e bl at a nt. Vi e w p oi nt dis cri mi n ati o n is t h u s a n e gr e gi o us f or m of c o nt e nt dis cri mi n ati o n. ”

 R os e n b er g er v. R e ct or & Visit ors of U ni v. of Vir gi ni a , 5 1 5 U. S. 8 1 9, 8 2 9 ( 1 9 9 5).

            Mr. K h alil’s cl ai ms — t h at h e is b ei n g p u nis h e d as a r es ult of his p oliti c al s p e e c h a n d t h e

 vi e ws h e e x pr ess es — t h er ef or e i m pli c ate t h e h e art of t h e First A m e n d m e nt. F e w g o v er n m e nt al

 a cti o ns c o ul d b e m or e c hilli n g o n s p e e c h t h a n a f e d er al a g e n c y c h o osi n g t o j ail a n i n di vi d u al b as e d

 o n t h eir p oliti c al s p e e c h criti c al of g o v er n m e nt p oli ci es. S e e Cit y of H o ust o n v. Hill , 4 8 2 U. S. 4 5 1,

 4 6 2 6 3 ( 1 9 8 7) ( “ T h e fr e e d o m of i n di vi d u als v er b all y t o o p p os e or c h all e n g e p oli c e a cti o n wit h o ut

 t h er e b y ris ki n g arr est is o n e of t h e pri n ci p al c h ar a ct eristi cs b y w hi c h w e disti n g uis h a fr e e n ati o n

 fr o m a p oli c e st at e. ”). It is b e y o n d c o nt est t h at “[f] r e e d o m of s p e e c h a n d pr ess is a c c or d e d ali e ns

 13
      R es p o n d e nts’ tr a nsf er of Mr. K h alil t o L o uisi a n a aft er t h e fili n g of his p etiti o n d o es n ot alt er
 t his C o urt’s j urisdi cti o n a n d v e n u e. S e e A n ari b a v. Dir. H u ds o n C nt y. C orr. Ctr ., 1 7 F. 4t h 4 3 4,
 4 4 5 ( 3 d Cir. 2 0 2 1) ( “ W h e n t h e G o v er n m e nt m o v es a h a b e as p etiti o n er aft er s h e pr o p erl y fil es a
 p etiti o n n a mi n g h er i m m e di at e c ust o di a n, t h e Distri ct C o urt r et ai ns j uris di cti o n a n d m a y dir e ct
 t h e writ t o a n y r es p o n d e nt wit hi n its j uris di cti o n w h o h as l e g al a ut h orit y t o eff e ct u at e t h e
 pris o n er’s r el e as e. ” ( q u oti n g R u msf el d v. P a dill a , 5 4 2 U. S. 4 2 6, 4 4 1 ( 2 0 0 4) ( citi n g E x p art e
 E n d o , 3 2 3 U. S. 2 8 3, 3 0 6- 0 7 ( 1 9 4 4))).


                                                                        15
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 21 of 30 PageID:
                                                             215



 r esi di n g i n t his c o u ntr y. ” Bri d g es v. Wi x o n , 3 2 6 U. S. 1 3 5, 1 4 8 ( 1 9 4 5) ( citi n g Bri d g es v. C alif or ni a ,

 3 1 4 U. S. 2 5 2 ( 1 9 4 1) ). S e v er al c o urts h a v e h el d t h at t h e First A m e n d m e nt pr ot e cts n o n citi z e ns w h o

 ar e d et ai n e d a n d t hr e at e n e d wit h d e p ort ati o n as a r es ult of t h eir pr ot e ct e d s p e e c h. S e e, e. g., B ell o -

 R e y es v. G a y n or , 9 8 5 F. 3 d 6 9 6, 6 9 8 ( 9t h Cir. 2 0 2 1); R a g bir v. H o m a n , 9 2 3 F. 3 d 5 3 ( 2 d Cir. 2 0 1 9),

 c ert. gr a nt e d, r e m a n d e d, a n d v a c at e d s u b n o m. o n ot h er gr o u n ds , P h a m v. R a g bir , 1 4 1 S. Ct. 2 2 7

 ( 2 0 2 0); G uti err ez -S ot o v. S essi o ns , 3 1 7 F. S u p p. 3 d 9 1 7, 9 2 1 ( W. D. T e x. 2 0 1 8) . R es p o n d e nts’

 t ar g eti n g of       Mr. K h alil— as w ell as t h e o v er all poli c y (t o arr est, d et ai n, a n d s e e k t o r e m o v e

 n o n citi z e ns w h o e n g a g e i n e x pr essi v e a cti viti es i n t h e U nit e d St at es s u p p orti n g P al esti ni a n ri g hts)

 a n d t h e d et er mi n a ti o n b y S e cr et ar y R u bi o ( “ R u bi o D et er mi n ati o n ”) u p o n w hi c h Mr. K h alil’s

 t ar g eti n g is b as e d — r e pr es e nt a t e xt b o o k c as e of First A m e n d m e nt r et ali ati o n a n d vi e w p oi nt

 dis cri mi n ati o n.

            S e c o n d, Mr. K h alil’s cl ai m t h at          t h e p oli c y a n d R u bi o D et er mi n ati o n ar e “ v oi d f or

 v a g u e n ess ” is als o a s u bst a nti al cl ai m t h at pr es e nt s a cl e ar b asis f or r eli ef. “It is a b asi c pri n ci pl e

 of d u e pr o c ess t h at a n e n a ct m e nt is v oi d f or v a g u e n ess if its pr o hi biti o ns ar e n ot cl e arl y d efi n e d. ”

 Gr a y n e d v. Cit y of R o c kf or d, 4 0 8 U. S. 1 0 4, 1 0 8 ( 1 9 7 2). A p oli c y c a n b e v a g u e f or t w o i n d e p e n d e nt

 r e as o ns: if t h e g o v er n m e nt f ails t o “ pr o vi d e t h e ki n d of n oti c e t h at will e n a bl e or di n ar y p e o pl e t o

 u n d erst a n d w h at c o n d u ct it pr o hi bits, ” or if it w o ul d “ a ut h ori z e a n d e v e n e n c o ur a g e ar bitr ar y a n d

 di s cri mi n at or y e nf or c e m e nt. ” Cit y of C hi c a g o v. M or al es , 5 2 7 U. S. 4 1, 5 6 ( 1 9 9 9).               W h e n a cts

 aff e cti n g s p e e c h ar e i n v ol v e d, p arti c ul arl y “ri g or o us a d h er e n c e t o [ d u e pr o c ess] r e q uir e m e nts is

 n e c ess ar y t o e ns ur e t h at a m bi g uit y d o es n ot c hill pr ot e ct e d s p e e c h. ” F C C v. F o x T el e visi o n

 St ati o ns, I n c. , 5 6 7 U. S. 2 3 9, 2 5 3– 5 5 ( 2 0 1 2). A n d t h e r e q uir e m e nt f or ri g or o us s cr uti n y is o nl y

 h ei g ht e n e d w h er e a l a w or p oli c y c arri es s eri o us p e n alti es. S e e, e. g., R e n o v. A C L U , 5 2 1 U. S. 8 4 4,

 8 7 1 – 7 2 ( 1 9 9 7) ( n oti n g t h at t h e “s e v erit y of cri mi n al s a n cti o ns m a y w ell c a us e s p e a k ers t o r e m ai n

 sil e nt r at h er t h a n c o m m u ni c at e e v e n ar g u a bl y u nl a wf ul w or ds, i d e as, a n d i m a g es. ”). B e c a us e

 r e m o v al fr o m t h e U nit e d St at es is “ a p arti c ul arl y s e v er e p e n alt y, ” L e e v. U nit e d St at es , 5 8 2 U. S.

 3 5 7, 3 7 0 ( 2 0 1 7) ( q u oti n g P a dill a , 5 5 9 U. S. at 3 6 5), t h e p oli c y of d e p orti n g n o n citi z e ns f or pr o-



                                                                      16
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25               Page 22 of 30 PageID:
                                                             216



 P al esti n e s p e e c h m ust s atisf y t h e m ost e x a cti n g v a g u e n ess st a n d ar d. H er e, i t c a n n ot. N or is t h e

 s p e cifi c D et er mi n ati o n of h o w t h e P oli c y a p pli es t o P etiti o n er a n y m or e cl e ar. U nit e d St at es v.

 L o y , 2 3 7 F. 3 d 2 5 1, 2 6 2 ( 3 d Cir. 2 0 0 1).

            T hir d, t h e D u e Pr o c ess cl ai ms r el at e d t o t h e u nr e as o n a bl e n ess a n d ar bitr ari n ess of Mr.

 K h alil’s d et e nti o n ar e si mil arl y s u bst a nti al a n d pr es e nt a cl e ar b asis f or r eli ef. T h e D u e P r o c ess

 Cl a us e of t h e Fift h A m e n d m e nt pr ot e cts “ all ‘ p ers o ns’ wit hi n t h e U nit e d St at es, i n cl u di n g

 [ n o n citi z e ns],   w h et h er t h eir pr es e n c e h er e is l a wf ul, u nl a wf ul, t e m p or ar y, or p er m a n e nt. ”

 Z a d v y d as v. D a vis , 5 3 3 U. S. 6 7 8, 6 9 3 ( 2 0 0 1). “ Fr e e d o m fr o m i m pris o n m e nt— fr om g o v er n m e nt

 c ust o d y, d et e nti o n, or ot h er f or ms of p h ysi c al r estr ai nt — li es at t h e h e art of t h e li b ert y t h at Cl a us e

 pr ot e cts. ” I d. at 6 9 0. I m mi gr ati o n d et e nti o n is ci vil, n ot cri mi n al, a n d t h us o nl y j ustifi e d w h e n

 n e c ess ar y t o e ns ur e a n o n citi z e n’s a p p e ar a n c e d uri n g r e m o v al pr o c e e di n gs a n d t o pr e v e nt d a n g er

 t o t h e c o m m u nit y. I d. T h e g o v er n m e nt’s d et e nti o n of           Mr. K h alil is w h oll y u nj ustifi e d. T h e

 g o v er n m e nt h as n ot d e m o nstr at e d t h at Mr. K h alil — a h us b a n d t o a U. S. citi z e n, s o o n -t o-b e f at h er

 t o a U. S. citi z e n, a n d l a wf ul p er m a n e nt r esi d e nt wit h n o cri mi n al hist or y — n e e ds t o b e d et ai n e d.

 A n d t h er e is n o cr e di bl e ar g u m e nt t h at Mr. K h alil c a n n ot b e s af el y r el e as e d b a c k t o his f a mil y.

 R at h er , Mr. K h alil’s d et e nti o n is p u niti v e as it b e ars n o “r e as o n a bl e r el ati o n ” t o a n y l e giti m at e

 g o v er n m e nt p ur p os e. I d. (fi n di n g i m mi gr ati o n d et e nti o n is ci vil a n d t h us ost e nsi bl y “ n o n p u niti v e

 i n p ur p os e a n d eff e ct ”); cf. G er m a n S a nt os v. W ar d e n Pi k e C nt y. C orr. F a cilit y , 9 6 5 F. 3 d 2 0 3, 2 1 1

 ( 3 d Cir. 2 0 2 0) ( “ R e m o v al pr o c e e di n gs ar e ci vil, n ot cri mi n al. S o if a n ali e n’s ci vil d et e nti o n . . .

 l o o ks p e n al, t h at tilts t h e s c al es t o w ar d fi n di n g t h e d et e nti o n u nr e as o n a bl e. ”) ( cit ati o n o mitt e d).

 T h e ass ert e d b as e s of his d et e nti o n — t h e F or ei g n P oli c y Gr o u n d a n d t h e R u bi o D et er mi n ati o n

 w hi c h l e d t o Mr. K h alil’s arr est— ar e u nl a wf ul f or t h e r e as o ns dis c uss e d s u pr a. H er e, t h er e is e v er y

 i n di c ati o n t h at his “ d et e nti o n is n ot t o f a cilit at e d e p ort ati o n, or t o pr ot e ct a g ai nst ris k of fli g ht or

 d a n g er o us n ess, b ut t o i n c ar c er at e f or ot h er r e as o ns. ” D e m or e v. Ki m , 5 3 8 U. S. 5 1 0, 5 3 2-3 3 ( 2 0 0 3)

 ( K e n n e d y, J., c o n c urri n g).




                                                                       17
Case 2:25-cv-01963-MEF-MAH                              Document 93                 Filed 03/20/25             Page 23 of 30 PageID:
                                                               217



            Fi n all y, t h e A P A a n d A c c ar di d o ctri n e cl ai ms ar e s u bst a nti al a n d pr es e nt a cl e ar b asis f or

 s etti n g asi d e t h e p oli c y a n d d et er mi n ati o ns u n d erl yi n g R es p o n d e nts’ t ar g eti n g of Mr. K h alil. T h e

 g o v er n m e nt h as a d o pt e d a p oli c y of t ar g eti n g n o n citi z e ns f or r e m o v al b as e d o n First A m e n d m e nt

 pr ot e ct e d s p e e c h a d v o c ati n g f or P al esti ni a n ri g hts. T his p oli c y is ar bitr ar y a n d c a pri ci o us, a n a b us e

 of dis cr eti o n, c o ntr ar y t o c o nstit uti o n al ri g ht, c o ntr ar y t o l a w, a n d i n e x c ess of st at ut or y

 j uris di cti o n. 5 U. S. C. A. § 7 0 6 ( 2)( A), ( B), ( C). I n a d diti o n, t o t h e e xt e nt t h e S e cr et ar y of St at e h as

 d et er mi n e d t h at Mr. K h alil’s “ pr es e n c e or a cti viti es w o ul d p ot e nti all y h a v e s eri o us a d v ers e f or ei g n

 p oli c y c o ns e q u e n c es f or t h e U nit e d St at es,” or “ w o ul d c o m pr o mis e a c o m p elli n g U nit e d St at es

 f or ei g n p oli c y i nt er est, ” s u c h d et er mi n ati o n s ar e ar bitr ar y a n d c a pri ci o us, a n a b us e of dis cr eti o n,

 c o ntr ar y t o c o nstit uti o n al ri g ht, c o ntr ar y t o l a w, a n d i n e x c ess of st at ut or y j uris di cti o n. 5 U. S. C. A.

 § 7 0 6 ( 2)( A), ( B), ( C) .           M or e o v er, t h e g o v er n m e nt’s a cti o ns pr es e nt a cl assi c vi ol ati o n of t h e

 A c c ar di d o ctri n e, as t h e g o v er n m e nt is vi ol ati n g its r e g ul ar pr o c ess es a n d r ul es, i n cl u di n g t h os e

 p ert ai ni n g t o First A m e n d m e nt a cti vit y, i n or d er t o d et ai n a n d d e p ort Mr. K h alil b e c a us e h e h as

 b e e n pr ej u d g e d as u n d esir a bl e. S e e A c c ar di v. S h a u g h n ess y , 3 4 7 U. S. 2 6 0 ( 1 9 5 4) ( a g e n c y m a y n ot

 vi ol at e its o w n r ul es a n d pr o c ess es si m pl y b e c a us e Att or n e y G e n er al si n gl e d hi m o ut f or

 d e p ort ati o n); L esli e v. At t or n e y G e n. of U. S., 6 1 1 F. 3 d 1 7 1, 1 7 5 ( 3 d Cir. 2 0 1 0) ( “r ul es pr o m ul g at e d

 b y a f e d er al a g e n c y t h at r e g ul at e t h e ri g hts a n d i nt er ests of ot h ers ar e c o ntr olli n g u p o n t h e

 a g e n c y ”); s e e als o, e. g., D H S, M e m or a n d u m of K e vi n M c Al e e n a n ( M a y 1 7, 2 0 1 9) (st ati n g D H S

 “ d o es n ot pr ofil e, t ar g et, or dis cri mi n at e a g ai nst a n y i n di vi d u al f or e x er cisi n g his or h er First

 A m e n d m e nt         Ri g hts ”) ,        htt ps:// w w w. d hs. g o v/sit es/ d ef a ult/fil es/ p u bli c ati o ns/i nf o _r e g ar di n g

 _first _ a m e n d m e nt _ pr ot e ct e d _ a cti viti es _ as 1 _si g n e d _ 0 5. 1 7. 2 0 1 9. p df .

            C o urts h a v e r o uti n el y f o u n d c h all e n g es of t his n at ur e — p arti c ul arl y t h os e i n v ol vi n g

 c o nstit uti o n al c o n c er ns — t o b e “s u bst a nti al cl ai ms ” d e m o nstr ati n g a cl e ar c as e f or h a b e as r eli ef f or

 p ur p os es of L u c as a n d M a p p r el e as e. S e e L esli e , 8 6 5 F. S u p p. 2 d at 6 3 8 (fi ndi n g p etiti o n er’s d u e

 pr o c ess c h all e n g e t o his pr ol o n g e d d et e nti o n a n d d efi ci e n ci es i n his b o n d h e ari n g t o pr es e nt

 s u bst a nti al cl ai ms); Cristi a n A. R. , 4 5 3 F. S u p p. 3 d at 6 8 5 -8 8 (fi n di n g s u bst a nti al cl ai m i n v ol vi n g



                                                                         18
Case 2:25-cv-01963-MEF-MAH                              Document 93               Filed 03/20/25               Page 24 of 30 PageID:
                                                               218



 s u bst a nti v e d u e pr o c ess c h all e n g e t o d et e n ti o n); As m e d B. , 4 6 0 F. S u p p. 3 d at 5 3 1- 3 2

 (s a m e); K ol a w ol e O. T. , 4 6 6 F. S u p p. 3 d at 4 6 9-7 0 (s a m e); H a n T a k L e e , 2 0 1 4 W L 4 1 8 7 5 9 0, at * 4

 (fi n di n g p etiti o n er’s c h all e n g e t o pri or tri al t o b e s u bst a nti al cl ai m); s e e als o U nit e d St at es v.

 N k a n g a , 4 5 2 F. S u p p. 3 d 9 1, 9 5 ( S. D. N. Y. 2 0 2 0) (fi n di n g p etiti o n er’s i n eff e cti v e assist a n c e of

 c o u ns el cl ai m t o b e s u bst a nti al cl ai m) ; S. N. C. , 2 0 1 8 W L 6 1 7 5 9 0 2, at * 6 (fi n di n g s u bst a nti al cl ai ms

 t h at p etiti o n er’s “ d u e pr o c ess ri g hts ar e i nfri n g e d if s h e is r e m o v e d b ef or e h er vis a a p pli c ati o ns ar e

 a dj u di c at e d ”); C or o n el v. D e c k er , 4 4 9 F. S u p p. 3 d 2 7 4, 2 8 9 ( S. D. N. Y. 2 0 2 0) (fi n di n g s u bst a nti al

 cl ai ms of s u bst a nti v e a n d pr o c e d ur al d u e pr o c ess c h all e n g es t o d et e nti o n); A v e n d a n o H er n a n d ez

 v. D e c k er , 4 5 0 F. S u p p. 3 d 4 4 3, 4 4 8 ( S. D. N. Y. 2 0 2 0) (fin di n g s u bst a nti al cl ai m of s u bst a nti v e d u e

 pr o c ess c h all e n g e t o d et e nti o n); B ar b e c h o v. D e c k er , N o. 2 0-C V -2 8 2 1 ( AJ N), 2 0 2 0 W L 2 5 1 3 4 6 8,

 at * 7 ( S. D. N. Y. M a y 1 5, 2 0 2 0) (s a m e); Ki a dii v. D e c k er , 4 2 3 F. S u p p. 3 d at 1 8 ( S. D. N. Y. 2 0 1 8)

 (fi n di n g s u bst a nti al cl ai ms of u nj ustifi e d d et e nti o n a n d pl a c e m e nt i n r e m o v al pr o c e e di n gs b as e d

 o n ass ert e d U. S. citi z e ns hi p ). Mr. K h alil’s cl ai ms m or e t h a n m e et t his pr o n g of t h e L u c as a n d

 M a p p st a n d ar d.

                B. M R. K H A LI L’ S C A S E P R E S E N T S E X T R A O R DI N A R Y CI R C U M S T A N C E S.

                T h e cir c u mst a n c es of Mr. K h alil’s d et e nti o n a n d pl a c e m e nt i n r e m o v al pr o c e e di n gs h a v e

 b e e n e xtr a or di n ar y fr o m t h e st art. F e d er al offi ci als h a v e or c h estr at e d a n a br u pt a n d hi g hl y -

 p u bli ci z e d arr est a n d d et e nti o n of a C ol u m bi a U ni v ersit y gr a d u at e st u d e nt as p u nis h m e nt f or his

 s p e e c h, u nj ustifi e d b y a n y i n di ci a of fli g ht ris k or d a n g er. T h e y arr est e d hi m o n a S at ur d a y e v e ni n g

 i n t h e l o b b y of his c a m p us h o usi n g a n d i n fr o nt of his ei g ht- m o nt h-pr e g n a nt U. S. citi z e n wif e, h el d

 hi m i n c o m m u ni c a d o fr o m his f a mil y a n d c o u ns el f or m or e t h a n 2 4 h o urs, a n d tr a nsf err e d hi m o ut

 of st at e e v e n aft er t h e fili n g of t his h a b e as p etiti o n s e e ki n g his r el e as e a n d t o e nj oi n tr a nsf er. Gr e er

 D e cl. at ¶ ¶ 5 -6, 9 -1 3, 1 5; A b d all a D e cl. at ¶ ¶ 1 2, 1 4 - 1 8. T h e Pr esi d e nt a n d S e cr et ar y of St at e h a v e

 p ost e d i m a g es of Mr. K h alil o nli n e, c el e br ati n g his d et e nti o n. A m. P. ¶ 7 4. T h e D e p art m e nt of

 H o m el a n d S e c urit y p u bli cl y e x pl ai n e d t h at it t ar g et e d Mr. K h alil b e c a us e of his pr ot e ct e d p oliti c al

 s p e e c h.      A m.     P.     ¶     8 1; N P R,         M or ni n g E diti o n     ( M ar c h      1 3,    2 0 2 5),   a v ail a bl e   at



                                                                       19
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 25 of 30 PageID:
                                                             219



 htt ps:// w w w. n pr. or g/ 2 0 2 5/ 0 3/ 1 3/ n x- s 1- 5 3 2 6 0 1 5/ m a h m o u d- k h alil- d e p ort ati o n-arr ests -tr u m p.

 N o w,      Mr. K h alil sits i n a r e m ot e pri v at e pris o n, n ot ori o us f or p o or h e alt h c ar e, u n a bl e t o

 c o m m u ni c at e eff e cti v el y wit h c o u ns el wit h o ut a c o urt or d er, u n a bl e t o s e e his pr e g n a nt wif e or

 att e n d m e di c al a p p oi nt m e nts wit h h er, a n d u n a bl e t o s p e a k fr e el y t o t h e o utsi d e w orl d.

             T o d a y, Mr. K h alil’s d et e nti o n p os es a m yri a d of i ns ur m o u nt a bl e h ar ms. C hi efl y, Mr. K h alil

 a n d his ei g ht -m o nt h pr e g n a nt wif e, a citi z e n of t h e U nit e d St at es, f a c e t h e d a u nti n g, p ai nf ul

 pr os p e ct of Ms. A b d all a gi vi n g birt h t o t h eir first c hil d i n N e w Y or k Cit y wit h o ut Mr. K h alil. S e e

 A b d all a M e di c al L ett ers. Ms. A b d all a, w h o is at ris k of pr e e cl a m psi a, is als o f a c e d wit h t h e t as k

 of c arr y i n g h er pr e g n a n c y t o t er m w hil e e n d uri n g t h e o v er w h el mi n g str ess of h er h us b a n d’s i niti al

 dis a p p e ar a n c e, his c o v ert, o v er ni g ht tr a nsf er a cr oss m ulti pl e st at e li n es t o a d et e nti o n f a cilit y m or e

 t h a n 12 0 0 mil es a w a y ( w h er e s h e c a n n ot r e a c h hi m), a n d t h e e ns u i n g str ai n of his i n d efi nit e

 a bs e n c e. S e e A b d all a D e cl. at ¶ 2 2; A b d all a M e di c al L ett ers . W h at’s m or e, Mr. K h alil s uff ers i n

 d et e nti o n i n L o uisi a n a, f ar fr o m his c o m m u nit y, c o u ns el, wif e, a n d f ort h c o mi n g s o n. A b d all a D e cl.

 at ¶ 2 8.

             M or e o v er, t h er e ar e n o a ll e g ati o ns t h at      Mr. K h alil is a fli g ht ris k or a d a n g er t o t h e

 c o m m u nit y. Mr. K h ali l h as n e v er b e e n arr est e d or c o n vi ct e d of a cri m e. H e is t h e l o vi n g h us b a n d

 of a U. S. citi z e n, is a b o ut t o b e c o m e t h e f at h er of a U. S. citi z e n i nf a nt, a n d is a visi bl e pr es e n c e o n

 t h e c a m p us of C ol u m bi a U ni v ersit y, w h er e h e is s et t o gr a d u at e l at er t his y e ar. S e e A b d all a M e di c al

 L ett ers ; M. P. A. C o nfir m ati o n. H e h as a n off er of e m pl o y m e nt s et t o b e gi n n e xt m o nt h, w h e n h e

 will b e t h e m ai n fi n a n ci al pr o vi d er f or his f a mil y as his wif e t a k es m at er nit y l e a v e . A b d all a D e cl.

 at ¶ 2 6. M a n y      p e o pl e —i n cl u di n g cl ass m at es a n d pr of ess ors at C ol u m bi a U ni v ersit y, fri e n ds a n d

 c oll e a g u es w h o h a v e k n o w n Mr. K h alil f or y e ars — att est t o his c h ar a ct er, c o m m u nit y ti es, a n d l a c k

 of fli g ht ris k or d a n g er o us n ess. S e e L ett ers of S u p p ort; S u p pl e m e nt al L ett ers of S u p p ort.

             N u m er o us c o urts h a v e f o u n d e xtr a or di n ar y cir c u mst a n c es i n li g ht of si mil ar f a ct ors ,

 i n cl u di n g f a ct ors r el at e d t o i n di vi d u ali z e d cir c u mst a n c es, f a mil y, h e alt h c o n c er ns, a n d l a c k of

 fli g ht ris k a n d d a n g er o us n ess. S e e L esli e , 8 6 5 F. S u p p. 2 d at 6 3 8 (d es cri bi n g e xtr a or di n ar y



                                                                      20
Case 2:25-cv-01963-MEF-MAH                            Document 93                Filed 03/20/25              Page 26 of 30 PageID:
                                                             220



 cir c u mst a n c es i n cl u di n g p etiti o n er’s s u bst a nti al f a mil y ti es i n t h e U. S. , h e alt h c o n c er ns, a n d

 c o m pl eti o n of G E D a n d pr o gr a m mi n g ); H a n T a k L e e , 2 0 1 4              W L 4 1 8 7 5 9 0 , at * 3 ( d es cri bi n g

 e xtr a o r di n ar y cir c u mst a n c es i n cri mi n al c as e t o i n cl u d e l a c k of pri or cri mi n al hist or y, mi ni m al

 dis ci pli n ar y hist or y w hil e i n c ar c er at e d, a n d s u p p ort fr o m c o m m u nit y); N k a n g a , 4 5 2 F. S u p p. 3 d

 at 9 6 ( d es cri bi n g e xtr a or di n ar y cir c u mst a n c es i n cri m i n al c as e t o “i n cl u d e t h e d ef e n d a nt’s a g e; his

 m ulti pl e h e alt h iss u es; t h e n at ur e of t h e d ef e n d a nt’s off e ns e; t h e pr e cis e ti mi n g of t h e s e nt e n ci n g

 pr o c e e di n g … i n r el ati o n t o t h e e m er gi n g C O VI D-1 9 p a n d e mi c; a n d t h e c o n cl usi o ns alr e a d y

 r e a c h e d b y t h e C o urt in pr e vi o us as p e cts of t his liti g ati o n r e g ar di n g t h e d ef e n d a nt’s h e alt h iss u es,

 a n d a p p ar e nt l a c k of d a n g er o us n ess or ris k of fli g ht ”); S. N. C., 2 0 1 8 W L 6 1 7 5 9 0 2, at * 6 (fi n di n g

 e xtr a or di n ar y cir c u mst a n c es i n li g ht of p etiti o n er’s h e alt h c ar e n e e ds , i m p a ct of d et e nti o n, a n d

 n e e d t o c ar e f or h er c hil dr e n ); Ki a d dii , 4 2 3 F. S u p p. 3 d at 1 8 (fi n di n g e xtr a or di n ar y cir c u mst a n c es

 b as e d o n cl ai ms t h at d et e nti o n w as u nj ustifi e d a n d b as e d o n i m p a ct of d et e nti o n o n h e alt h );

 D' Al ess a n dr o , 2 0 0 9 W L       7 9 9 9 5 7, at * 3 (fi n di n g e xtr a or di n ar y cir c u mst a n c es wit h r es p e ct t o

 p etiti o n er’s f a mil y ti es, pr os p e cts f or e m pl o y m e nt, a n d h e alt h iss u es). T h e sil e n ci n g a n d c hilli n g

 eff e ct o n s p e e c h, t h e i m p a ct o n Mr. K h alil’s a bilit y t o s u p p ort his wif e t hr o u g h h er pr e g n a n c y a n d

 b e pr es e nt f or t h e birt h of t h eir c hil d, t h e i m p a ct of d et e nti o n o n his o w n h e alt h a n d w ell b ei n g, a n d

 t h e l a c k of a n y f a ct ors j ustif yi n g p h ysi c al c o nfi n e m e nt, all d e m o nstr at e e xtr a or di n ar y

 cir c u mst a n c es.

            C. T H E S E E X T R A O R DI N A R Y CI R C U M S T A N C E S M A K E T H E G R A N T O F
               B AI L N E C E S S A R Y T O M A K E T H E H A B E A S R E M E D Y E F F E C T I V E.
            T h e e xtr a or di n ar y cir c u mst a n c es d es cri b e d r e n d er t h e h a b e as r e m e d y i n eff e cti v e if Mr.

 K h alil is f or c e d t o r e m ai n i n d et e nti o n p e n di n g t h e liti g ati o n of his cl ai ms. First, wit h r es p e ct t o

 Mr. K h alil’s First A m e n d m e nt cl ai ms, a c or e p art of t h e r e m e d y s o u g ht is d esi g n e d t o pr e v e nt t h e

 f e d er al g o v er n m e nt fr o m r et ali ati n g a g ai nst Mr. K h alil f or his pr ot e ct e d p oliti c al s p e e c h. His

 d et e nti o n u n q u esti o n a bl y c hills his s p e e c h, as t h e f e d er al g o v er n m e nt m o nit ors a n d c o ntr ols his

 a bilit y t o c o m m u ni c at e wit h t h e o utsi d e w orl d a n d h as c o m pl et e p o w er o v er all of t h e d e cisi o ns



                                                                      21
Case 2:25-cv-01963-MEF-MAH                               Document 93                 Filed 03/20/25               Page 27 of 30 PageID:
                                                                221



 t h at i m p a ct his d ail y lif e i nsi d e a r e m ot e pri v at e pris o n. If Mr. K h alil ulti m at el y wi ns his h a b e as

 cl ai m s, t h e eff e cti v e n ess of a n or d er of r el e as e t o vi n di c at e his ri ghts will b e v astl y di mi nis h e d if

 t h e f e d er al g o v er n m e nt w as a bl e t o d et ai n hi m f or t h e p e n d e n c y of t h e liti g ati o n. S e e N k a n g a, 4 5 2

 F. S u p p. 3 d at 9 6 ( a gr e ei n g t h at b ail p e n di n g r es ol uti o n of d ef e n d a nt’s cl ai m “ m a y b e n e c ess ar y t o

 eff e ct u at e t h e r eli ef s o u g ht ” w h er e “ b ut f or c o u ns el’ s all e g e dl y i n eff e cti v e assist a n c e, t h e j u d g m e nt

 w o ul d h a v e i n cl u d e d a s urr e n d er d at e p er mitti n g t h e d ef e n d a nt t o b e r el e as e d o n b ail p e n di n g t h e

 C O VI D -1 9 crisis ” ). His c h all e n g e t o t h e c o nstit uti o n alit y of t h e g o v er n m e nt’s d e cisi o n t o d et ai n

 hi m i n t h e first pl a c e is a si g nifi c a nt p art of t h e First A m e n d m e nt a n d D u e Pr o c ess i nj ur y at t h e

 c e nt er of t his liti g ati o n.

            S e c o n d, t h e h a b e as r e m e d y is d esi g n e d t o e ns ur e t h at Mr. K h alil m ai nt ai ns m e a ni n gf ul

 a c c ess t o t h e j u di ci al pr o c ess. H e c a n n ot m e a ni n gf ull y assist i n t h e liti g ati o n of t his c as e w h e n h e

 is f ar a w a y fr o m his l e g al t e a m a n d t h e g o v er n m e nt c o ntr ols his a bilit y t o s p e a k t o c o u ns el. R e l e as e

 w o ul d all o w Mr. K h alil t o h a v e r e g ul ar a c c ess t o c o u ns el a n d a d dr ess t h e r a pi dl y u nf ol di n g iss u es

 i n his c as e.

            T hir d, t h e h a b e as r e m e d y is n e c ess ar y t o a v oi d w h at, o n a p ers o n al l e v el, is t h e m ost

 p u niti v e c o ns e q u e n c e of his d et e nti o n — b ei n g u n a bl e t o s u p p ort his U. S. citi z e n wif e d uri n g t h e

 l ast m o nt h of h er pr e g n a n c y a n d missi n g t h e birt h of t h eir first c hil d. Mr. K h alil s p e n ds m ost of

 his ti m e i n d et e nti o n d e e pl y str ess e d a b o ut t h e h e alt h of his wif e a n d u n b or n b a b y, w hi c h is

 d etri m e nt al t o his o w n h e alt h. N u m er o us c o urts i n t his distri ct h a v e or d er e d r el e as e u n d er M a p p

 t o p etiti on ers li k e Mr. K h alil, w h er e j usti c e d el a y e d m e a ns j usti c e d e ni e d. S e e, e. g., L esli e , 8 6 5 F.

 S u p p. 2 d at 6 3 8 - 4 0; Cristi a n A. R. ,. 4 5 3 F. S u p p. 3 d at 6 8 9 - 9 0; A s m e d B., 4 6 0 F. S u p p. 3 d at 5 3 4 ;

 K ol a w ol e O. T. , 4 6 6 F. S u p p. 3 d at 4 7 2 ; N k a n g a , 4 5 2 F. S u p p. 3 d at 9 6; S. N. C. , 2 0 1 8 W L 6 1 7 5 9 0 2,

 at * 6; Ki a d dii , 4 2 3 F. S u p p. 3 d at 1 8 ; A v e n d a n o- H er n a n d ez, 4 5 0 F. S u p p. 3 d at 4 4 7- 4 4 9;

 D' Al ess a n dr o , 2 0 0 9 W L        7 9 9 9 5 7, at * 3; C or o n el , 4 4 9 F. S u p p. 3 d at 2 8 9 ; B ar b e c h o , 2 0 2 0 W L

 2 5 1 3 4 6 8, at * 7 . Mr. K h alil’s s e p ar ati o n fr o m his l o v e d o n es a n d c o m m u nit y als o d etr a cts fr o m his

 a bilit y t o e nj o y t h e s pirit u al s u c c or t h at h e n or m all y e x p eri e n c es d uri n g t h e h ol y m o nt h of



                                                                         22
Case 2:25-cv-01963-MEF-MAH                             Document 93                Filed 03/20/25               Page 28 of 30 PageID:
                                                              222



 R a m a d a n. If Mr. K h alil is for c e d t o r e m ai n is ol at e d i n a r e m ot e pri v at e pris o n, h e will b e s uff eri n g

 e x a ctl y t h e r et ali at or y a n d p u niti v e h ar ms h e s e e ks t o pr e v e nt t hr o u g h t his liti g ati o n.

                                                             C O N C L U SI O N

            F or t h e f or e g oi n g r e as o ns, t h is m oti o n s h o ul d b e gr a nt e d, a n d t his C o urt s h o ul d or d er

 R es p o n d e nts t o r el e as e M r. K h alil p e n di n g t h e a dj u di c ati o n of t his c as e. D oi n g s o r est or es Mr.

 K h alil t o t h e st at us q u o pri or t o t his c o ntr o v ers y a n d p uts a n e n d t o t h e e xtr a or di n ar y h ar ms h e is

 e x p eri e n ci n g i n d et e nti o n s o t h at t h e h a b e as r e m e di es h e s e e ks i n t his c as e will b e eff e cti v e. T his

 s er v es t h e i nt er ests of j usti c e b y all o wi n g t h e p arti es a n d t his C o urt a f ull a n d f air o p p ort u nit y t o

 c o nsi d er t h e w ei g ht y a n d pr essi n g iss u es i n t his c as e.


 D at e d: M ar c h 2 0, 2 0 2 5                                                R es p e ctf ull y s u b mitt e d,
 N e w Y or k, N Y
                                                                               /s/ B a h e r A z m y
                                                                               B a h er A z m y , Es q.

                                                                               C E N T E R F O R C O N S TI T U TI O N A L R I G H T S
                                                                               B a h er A z m y
                                                                               S a m a h Sis a y *
                                                                               Di al a S h a m as *
                                                                               6 6 6 Br o a d w a y, 7t h Fl o or
                                                                               N e w Y or k, N Y 1 0 0 1 2
                                                                               ( 2 1 2) 6 1 4- 6 4 6 4
                                                                               b a z m y @ c crj usti c e. or g
                                                                               ssis a y @ c crj usti c e. or g
                                                                               ds h a m as @ c crj usti c e. or g

                                                                               W A S HI N G T O N S Q U A R E L E G A L S E R VI C E S ,
                                                                               IN C .
                                                                               I M MI G R A N T R I G H T S C L I NI C
                                                                               A LI N A D A S *
                                                                               2 4 5 S ulli v a n Str e et, 5t h Fl o or
                                                                               N e w Y or k, N e w Y or k 1 0 0 1 2
                                                                               T el: ( 2 1 2) 9 9 8- 6 4 3 0
                                                                               ali n a. d as @ n y u. e d u




                                                                       23
Case 2:25-cv-01963-MEF-MAH   Document 93      Filed 03/20/25             Page 29 of 30 PageID:
                                    223




                                           C L E A R P R OJ E C T
                                           M AI N S T R E E T L E G A L S E R VI C E S , I N C .
                                           R a m zi K ass e m *
                                           Naz A h ma d
                                           M u d ass ar H a y at T o p p a *
                                           S h e z z a A b b o us hi D all al *
                                           C U N Y S c h o ol of L a w
                                           2 C o urt S q u ar e
                                           L o n g Isl a n d Cit y, N Y 1 1 1 0 1
                                           ( 7 1 8) 3 4 0- 4 5 5 8
                                           r a m zi. k ass e m @l a w. c u n y. e d u
                                           n a z. a h m a d @l a w. c u n y. e d u
                                           m u d ass ar.t o p p a @l a w. c u n y. e d u
                                           s h e z z a. d all al @l a w. c u n y. e d u

                                           N E W Y O R K C I VI L L I B E R TI E S U NI O N
                                           F O U N D A TI O N
                                           A m y B els h er *
                                           R o b ert H o d gs o n *
                                           V er o ni c a S al a m a *
                                           M oll y Bi kl e n *
                                           1 2 5 Br o a d Str e et, 1 9t h Fl o or
                                           N e w Y or k, N. Y. 1 0 0 0 4
                                           T el: ( 2 1 2) 6 0 7- 3 3 0 0
                                           a b els h er @ n y cl u. or g

                                           A M E RI C A N C I VI L L I B E R TI E S U NI O N
                                           F O U N D A TI O N
                                           O m ar J a d w at *
                                           N o or Z af ar *
                                           Si dr a M a hf o o z *
                                           Bri a n H a uss *
                                           Br ett M a x K a uf m a n *
                                           Es h a B h a n d ari *
                                           V er a Ei d el m a n *
                                           T yl er T a k e m ot o *
                                           A m eri c a n Ci vil Li b erti es U ni o n F o u n d ati o n
                                           1 2 5 Br o a d Str e et, Fl o or 1 8
                                           N e w Y or k, N Y 1 0 0 0 4
                                           oj a d w at @ a cl u. or g




                                     24
Case 2:25-cv-01963-MEF-MAH   Document 93      Filed 03/20/25             Page 30 of 30 PageID:
                                    224




                                           D R A T E L & L E WI S
                                           A m y E. Gr e er
                                           2 9 Br o a d w a y, S uit e 1 4 1 2
                                           N e w Y or k, N Y 1 0 0 0 6
                                           P h o n e:( 2 1 2) 7 3 2- 8 8 0 5
                                           F a x: ( 2 1 2) 5 7 1- 3 7 9 2
                                           E m ail: a gr e er @ dr at ell e wis. c o m

                                           * A p pli c ati o n f or a d missi o n pr o h a c vi c e
                                           p e n di n g or f ort h c o mi n g

                                           C o u ns e l f or P etiti o n er




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